       Case 3:24-cv-01108-KAD           Document 1       Filed 06/26/24    Page 1 of 50

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                                                                                    FILES-TIsDC-EPT-CT


                         UNITED STATES DISTRICT COURT
                           DISTRICT OF GONNECTICUT


                                      COMPLAINT FORM




 Full name(s) of Plaintiff(s)
 (Do not use ef al.)

L7w svntDr."o LAhoEK€                               Case No.
        V                                                      (To be supplied by the Court)




 Full names of Defendant(s)
 (Do not use ef a/.)
K4$ fta,-u K dJ-!A
                                          A. PARTIES
 1   LAu(ffl- le-.rb*"&w                   is a citizen of        c'T                   who
            J  (Praintiff)
 presently resides at        C-6 6rwL s&                                                       tr6 (
                                (mailing address)


 2. Defendant        Ka-) Wr, , k N,A is a citizen of 6Hi f
             (name of fir6t          dant)                                Sta
 whose address is  L                                 L                     0
       Case 3:24-cv-01108-KAD           Document 1        Filed 06/26/24       Page 2 of 50




  3. Defendant          Nlr
                 (name of second defendant)
                                                        is a citizen of       illl
                                                                              (State)

  whose address is


  (lf more space is needed to furnish the above information for additional defendants,
  continue on a blank sheet which you should label "A. PARTIES." Be sure to include
  each defendant's identity and complete address.)


                                        B. JURISDICTION
   The jurisdiction of this court is invoked pursuant to: (list statute(s))

                                          7


                                  C. NATURE OF THE CASE

  BRIEFLY state the background of your cee.
                                             'Co,lr n
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      Case 3:24-cv-01108-KAD         Document 1       Filed 06/26/24       Page 3 of 50




                                  D. CAUSE OF ACTION

I allege that the following of my constitutional rights, privileges, or immunities or my
rights under a federal statute have been violated and that the following facts form the
basis of my allegations: (lf more space is needed to explain any allegation or to list
additional supporting facts, continue on a blank sheet which you should label "D.
CAUSE OF ACTION.")

Claim I               C*-o,CL..-        (         wd"tro(            I/L




Supporting Facts: (lnclude all facts you consider important, including names of persons
involved, places, and dates. Describe exactly how each defendant is involved. State
the facts clearly in your own words without citing legal authority or argument.)

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Supporting Facts:

                         N/ K
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                Case 3:24-cv-01108-KAD             Document 1        Filed 06/26/24   Page 4 of 50




                                      E. REQUEST FOR RELIEF
                 WHEREFORE, plaintiff demands: (state the relief you seek)


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    b)
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           Do you wish to have a jury trial?                    No
       Case 3:24-cv-01108-KAD         Document 1          Filed 06/26/24      Page 5 of 50




Original signature of attorney (if any)               Plaint     s Original   gnature


Printed Name                                          Printed Name    .LfdSEdMo LACTTEKK c

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Attorney's full address and telephone                 Plaintiff's fu lad ress and tele

                                                         LLoyasil\D80q                       , Cb lt4
Email address if available                            Email address if available




                DECLARATION UNDER PENALTY OF PERJURY
       The undersigned declares under penalty of perjury that he/she is the plaintiff in
the above action, that he/she has read the above complaint and that the information
contained in the complaint is true and correct. 28 U.S.C. $ 1746; 18 U.S.C. S 1621.

Executed at      SciJq-lporl-                    on        9ra4-
                  (locatiori)                           (date)


                                                      Plaintiff's   riginal Signature




(Rev.3/29116)




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       Case 3:24-cv-01108-KAD           Document 1              Filed 06/26/24   Page 6 of 50




 IN THE TINITES STA|ES DISTRICT COITRT FOR TIIE DISTRICT OF CONNETICUT

LENSENDRO LAGUERRE,

PLaintiff



VS                                                          Case NO



KEY BANK N.A,

Defendant




                      COMPLAINTAND DEMAND FOR JIIRY TRIAL



                                            i.        Parties
  1" Plaintiff, Laguerre Lensendro ("Plaintiff'), a resident of Fairfield County, State of
      Connecticut, brings this action against Defendant, Key Bank N.A. ("Defendant"), a
      national association with a presence within this district, for breach of contract and failure
      to perform.



  2. This Court has jurisdiction over the matter pursuant to 12 U.S.C. $$ 411- 412 with the
      amount in controversy exceeding $75,000. Venue is proper in this diskict due to
      Defendant's and Plaintiff's presence here.



                                      II.        Statement of facts
  3. On the 13th of May 2024, Plaintiffentered a fransaction by submitting an application to
      Defendant for an advance of $125,000.00 (one hundred twenty-five thousand dollars) for
      personal and household use. [See Exhibit 1]



  4. In a demonshably good faith effort to secure the advance, Plaintifftendered an
      instrument with the face value equal to the amount of federal reserve notes being applied
      for, with accord and satisfaction to the transaction. [See exhibit 2]
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5. In addition, Plaintiff provided instructions, to apply the tender of payment and rnake the
   advance. fsee exhibit 7]



6. The tendered instrument, a Bill of Exchange, serves as collateral for the advance

7. Defendant's agent, RON. S., received Plaintiffs application, insfiument and instructions
   on May 24,2024. fsee exhibit 3, & 8]



8. On May 29,2024, Plaintiff sent a follow-up conespondence addressed to Defendant's
   Chief Financial Officer (CFO) instructing them to apply the tendered payment and
   process the requested advance. lsee exhibit 4 &91



9. Defendant's agent, RON. S., received Plaintiffs communication on June 6, 2024.lsee
   exhibit 5l



10. On June 12, 2024, due to a lack of response, Plaintiff sent another formal corespondence
   to the CFO, reiterating the request to apply the tendered payment and grant the advance.
   [See exhibit 6]



11. Defendant's agent RON.S., received plaintiff's follow-up corespondence on June 18,
   2024.lsee exhibit 11& 101



12. Despite repeated attempts at communication, Defendant has completely disregarded all
   correspondence sent by Plaintiff.



13. Defendant refuses to honor the accord and satisfaction and perform.



14. Defendant has retained both Plaintiffs application and the tendered Bill of Exchange



15. Defendant's actions suggest they are treating Plaintiffs application and collateral
   instrument as a gift, a clear violation of the agreed-upon tetms.


                                             2
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16. To date, Defendant has not provided any value or consideration in exchange for the
   tendered instrument and applicalion.


17. Due to these intentional acts and subsequent breach of contract, Defendant has caused
   significant hatm.



                                        m.        Damages
18. As a direct consequence of Defendant's breach and lack of consideration, Plaintiff has
   been darnaged.



19. Plaintiff has been deprived of the proceeds of the transaction.



20. Plaintiff is unable to maintain a stable household environment.



2l.The lack of access to the approved funds has severely irnpacted Plaintiffs ability to
   purchase essential items such as food, clothing, and other necessities of life.


22.Daily activities requiring transportation, such as using ride-sharing selices (Uber, Lyft)
   or public transportation, have become impossible due to the financial hardship caused by
   Defendant's actions.



                                    ry.    Request for relief
23. Wherefore plaintiff respectfully requests frorn the court

   a.   An order compelling the defendant to perform by either

        l.     Granting the originally requested advance of $125,000.00 (one hundred
               twenty-five thousand dollars)

        11.    Awarding Plaintiff restitution in the amount of $125,000.00 (one hundred
               twenty-five thousand dollars) to compensate for the breach of contract.

   b. Provide for expeditious proceedings in this action.
    c   And whatever additional relief the court may find just and equitable.

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                                                       Respectfu lly submitted,

                                                 BY      Laguerre Lensendro

                                                               Plaintifl
                                                          26Broad st apt 4

                                                         Norwalk CT 06851

                                                            203-818-2916




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                                  Case 3:24-cv-01108-KAD

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     checking Account #                                                       Amount Requestea s 25000'00                                           1                               Relationship: I Key Privilege -{ KPB
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l-_j telephone application. Consumer lnsurance Disclosures and Privacy Statement read to applient. Mortgage Originator



APPLICANT/CO-APPLICANT                       IN FORMATION                                           -j I am cosigning for
                                                                                                     We intend to apply for joint credit

                                                                                        Date                                                                                                                                      nts

 LENSENDRO LAGUERRE                                                                      09/09/2000                      'XXX-XX-XXXX                                    (203)818-2e16                     (including self)
                                                                                                                                                                                                                                  1

Co-Applicant Name                                                                       Date of Birth                    Social Security No.                                   N                           No. of Dependents
                                                                                                                                                                                                           (including self)

                tD1                                        Applicant lD 2                                                Co-Applicant lD 1                                                         tD2


E-M                                                                                                                      E-Mail Address Co-Applicant
 LLENSENDRO@GMAtL.COM
Applicant Current                                                                       City & State                                     zip                       County                             How Lonq?
 26 broad st apt 4                                                                       Norwalk, CT                                     06851                     USA                                vrens. 1    0 -vorurs:
                                                    Date                         Pu                                  Market Value                  lvlonthly Payment               Load Balance
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Co-Applicant C unent Address                                                            City & State                                     7ip                       County                             How Long?
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Co-Applicant Previous Address                                                                           City & State                                                               zip                How Lonq?
                                                                                                                                                                                                      YEARS
                                                                                                                                                                                                              -

                                                                                                                                                                                            FT        Salary (Gross
                                                                                                       YEARS                  MONTHS                                                                  Per Month) $Q

Applicant Previous Employer                                                                            Position                                                                                       How Long?
 N/A                                                                                                                                                                                                  YEARS             MONTHS

Co-Applicant Previous Employer                                     Phone Number                        How Long?                                        Position                            FT        Salary (Gross
                                                                                                       YEARS                  MONTHS                                                                  Per Month)

Co-Applicant Previous Employer                                                                          Position                                                                                      How Long?
                                                                                                                                                                                                     YEARS

OTHER                 You do not have to disclose income from alimony, child support or separate                         Source                                                                       Amount (Gross per
INCOME                maintenance payments unless you want us to consider it for obtaining thjs loan.                    0                                                                            $o
tf you pay alimony, child support or separate maintenance, please include them as obligations, Obligation                               $0          .(per month) Years Remaining-
                                                                                                                                                                                                 the bank or its affiliates or on your


                                                                                                                                                                                                  bank. or an affiliate of the bank,




       consent.




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Note: Applicant(s) for a line of credit, request a line of credit up to the maximum amount which is available and for which the Applicantft) qualify.




applicant for any indebtedness to the Bank.
RequestforiCreditCard:              lunderstandmyapplicationforthePrefenedCreditLineAccountincludesmyrequestforacreditcardtoaccessthisPreferredCreditLineAccount.

each individual upon request, The pJrio Civil Rights Commission administers compliance with this law,

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     Case 3:24-cv-01108-KAD
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                                        Document 1         Filed 06/26/24       Page 11 of 50

                                                                                        t100-8000-E002



                              INTERNAIIONAL BILL OF EXCHANGE
   federal reserve act section 401 security, bill ofexchange, legal tender a united states government
                                   obligation, as authorized by statute



Payor: LENSENDRO LAGUERRE

      26Broad st apt 4

       Norwalk, Connecticut

      0685 I




Payee: KEY BANK

      127 Public Square,

      Cleveland, OHIO

      44114




                                                                                                 0sn312024
PAY TO THE ORDER OF: KEY BANK N.A




AMOTINT TENDERED: One Hundred Fiftv Thousand Dollars
                                                                                      $125,000




                       Pavable on demand




                                                                             Without recourse
Case 3:24-cv-01108-KAD                 Document 1                             Filed 06/26/24                    Page 12 of 50
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        Case 3:24-cv-01108-KAD            Document 1          Filed 06/26/24      Page 13 of 50




FROM:           Lensendro Laguerre
                26 BROAD ST APT 4
                Norwalk, Connecticut
                068s I




TO               Clark \{hayaI
                 KEY BANK
                 127 Public Square,
                 Cleveland, OHIO
                 44114



                                              Second Notice




I Laguerre-Lensendro, hereby claim all rights, titles, and guaranteed equity in the application
accompanied with instrument #I00-B000-E002 received by you'se on512412024 certified mail # 9589
0710 5270 1199 5952 44.

This application is hereby accepted for the value received. Please tender instrument # I00-B000-E002 for
the complete amount due within 3 business days after receipt of this notice.


I also instruct the CFO to communicate through writing if there are any questions/concenls that arise
within 3 business days, if no communication is made within 3 business days after receipt of this notice,
then I can assume that the aforesaid instructions have been completed.
The aforesaid are Non-negotiable

NOTICE TO AGENT IS NOTICE TO PRINCIPAL
NOTICE PRINCIPAL IS NOTICE TO AGENT



Respectfully,

Laguerre-Lensendro



                                                                                           512912024
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FROM            Lensendro Laguerre
                26 BROAD ST APT 4
                Norwalk, Connecticut
                068s 1




TO              Clark Khayat
                KEY BANK
                I27 Pvblic Square,
                Cleveland, OHIO
                44rt4


                                              Final Notice



On 511312024 I made an application to you'se, and I tendered instrument number I00 - 8000 - E002 for
the complete amount due. I also instructed you'se to apply the instrument as tender and make the advance
required within three business days. I then sent you a second notice on 512912024 instructing you'se to
apply the tender and make the advance within three business days. You'se have failed to comply with my
demands on both occasions. This is your final notice to do what has been demanded, please apply the
instrument as Tender and make the advance required




NOTICE TO AGENT IS NOTICE TO PRINCIPAL
NOTICE PRINCIPAL IS NOTICE TO AGENT



Respectfully,

Laguerre-Lensendro



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FROM:           Lensendro Laguerre
                26 BROAD ST APT 4
                Norwalk, Connecticut
                06Bs I




TO              Clark Khayat
                KEY BANK
                I27 Public Square,
                Cleveland, OHIO
                44n4




I Laguerre-Lensendro, hereby claim all rights, titles, and guaranteed equity in this application
accompanied with instrument #I00-B 000-E002.
This application is hereby accepted for the value received. Please tender instrument # I00-B000-E002 for
the complete amount due within 3 business days after receipt of this notice.
 I also instruct the CFO to communicate through writing if there are any questions/concems that arise
within 3 business days, if no communication is made within 3 business days after receipt of this notice,
then I can assume that the aforesaid instructions have been completed.
The aforesaid are Non-negotiable

NOTICE TO AGENT IS NOTICE TO PzuNCIPAL
NOTICE PRINCIPAL IS NOTICE TO AGENT



Sincerely,


Laguerre-Lensendro



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          Latest Update
          Your item was picked up at a postal facility al5:24 am on May 24, 2024 in CLEVELAND , OH 44101



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           May 24,2024,5:24 am
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           May 22,2024,2:54 pm


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           Arrived at USPS Regional Facility
           CLEVELAND OH DISTRIBUTION CENTER
           May 16,2024,12:52pm




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          Latest Update
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           June 5, 2024,12:45 pm


           Arrived at Post Office
           CLEVELAND, OH 44101
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          Latest Update
          Your item has been delivered and is available at a PO Box at 5:17 am on June 18,2024 in CLEVELAND,
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           Out for Delivery
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           June 17,2024,10:35 am


           Arrived at Post Office
           CLEVELAND, OH 44101
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           Arrived at USPS Regional Facility
           CLEVELAND OH DISTRIBUTION CENTER

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1930


The PromissoryNote as a Substitute for Money
J.S.Waterman




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               MIhTNESOTA
      LAW REVIEW
            JournaL of tlte State Bar Associatiott
Voruur XIV                         ilIancu, 1930                     No. -l


     THE PROI\,IISSORY NOTE AS .A, SUBSTITUTE
                          FOR TIONEYI
                        By J. S. \\Iaraut.r.N*
    RoMrssoRy notes are almost invariably described in judicial
P   opinions and in legal texts as beirrg either substitutc-s for
money,l representatives of moneS',t corrtracts circulating like nronel'
and performing in part the functions of nrone)',S instrunrents
possessing the same circulable character as mone)'7,{ part of the
currency of the country,t credit instruments performing thc func-
tions of paper money,o or a medium of exchange possessing the
advantages of a flexible paper currency and sen'ing as a substi-
tute for government bills or notes.? These statenlents, selectcd
    *Dean of the Larv School, IJniversity of Arkansas, Fa)'cttcyillc.
    iResearch Paper No- 155, Journal Scries, Univcrsitl' of Arkatrsas.
    lGaar v. Louisville Banking Co., (1874) 11 Bush (Ky.) 180, 187, ?l
Am. Rep.209,212; Smith v. Marland, (1882) 59 Iorva 6"{5, 13 N. \Y.85?,
854; Uncoln Nat'i Blc v. Perry, (C.C.A. 8th Cir-) 66 trcd. 887, 89.f, l+
C. C. A. 273, B0;1 Parsons, Notes & Bilts 257; I ltfaclcod, Batrkirtg,
5th ed-, p.50;2 Street, Foundations of Legal Liabilib'395; Spcncer, Com-
mercial T-aw,2d ed., p. 157; Schaub and Isaacs, The I-rrv in Busincss
Problems 536; Brervster, Legal Aspects of Crcdit 397, (1928) 22 lll.
L. Rev. 833, 838.
     rWookey v. Pole, (1S20) 4 B. & A 1,6; Pcople's Bank v. Batc-s,
 (1886) 120 V- S. 556, 565, 7 Sup" Ct 679, 30 L. Ed. 731, 757; 3 R C. L
836;'s2Parsons, trfercantile Law, 2d ed", p. 94.
         Street, Foundations of Lesal Liabilitv 325.
      aAigler, Commercial fnstruments, The Larv I\fcrchant, and Ncgotia-
bility, Onq B lr'ftxnesora Lew Rrt'lEw 361, 378.
     :Lang v. Smyth, (1831) 7 Bing. 2U,291; Ingham v. Primrose' (1859)
7 C.B.ll. S. SZ; Goodwin v. Robarts, (1875) L' R. 10 Bich.337,358.
     oChalmers, Bills of Exchange, 9th ed., Intr. p. lii; Holdsrvortlt, Tltc
Origins and Early History ol Negotiqble Instruments, (-19-16) -32 L
QuJrr Rev.20,30; Hope v. Parker, (1890) 43 trfo. App. 632' 637.
      ?Norton, Bills and Notes, 3rd cd., pp. 17-18. For thc distinction bc-
trveen metallic money, or specie, and cuirency' or papcr mgne)., scc Scltou-
ler, Personal Propeity,Sthed., sec" 347;40 C. J.-1189- {gt discussion
                                                               "
of itre term "curienci"' see 2 lfacleod, Banking, Sth cd-, 292'307.
 Case 3:24-cv-01108-KAD              Document 1         Filed 06/26/24       Page 23 of 50


3r+                  TTINNESOTA LAI'V REVIEI'V

at random, shorv a tendency to establish some relation, the exact
nature of rvhich is not always clear, between promissory notcs
and money. A discussion of the attributes and functiotts of
money and a consideration of the beginnings of paper mottey itt
England may serve to explain the nature and perhaps thc origirr
of the relation.

      Tun Ecoxoltrc AI:TRIBUTEs nNp FulrcrroNs on rllonnv
    The term "rnoney"u as commonly usedo refers to those cco'
nomic goods rvhich by usage are generally acceptablc in exchangc
and thus serve to effect the transfer of economic goodslo tnore
easily than by means of barter.11 A good possessing this econonric
quality of general acceptability is described as functioninglz as a
medium of exchange of general circulation.l8 But obviously not
all exchange is a concurrent transfer of money for other cconomic
goods, in rvhat is called a cash transaction.la In a credit tratts'
action, the function of money is that of a measure of the pnyment
     s"Money is one of those tcrms lvhich. political economists havc bor'
rorved from popular speech. . . . In spitc of numcrous attcmpts to mnke
a suitable definition, it-still lacks the precision and definitencss of tncaning
rvhich should characterize scientific teiminology." Scott, Moncy and Bnnl<'
ing, 5th ed., p. 1. Accord: Kinley, Money 59.
     0"Money is that economic good rvhich posscsscs,in any country or
community universal acceptabilit! as a medium of exchange or tnentts of
oavment.i' Tohnson. Monev and Currency 7. ".. . all commotliticS rvhiclr
ir6 used is gernril circrilating and paying mcdia, are propcrly callcd
money." Kinley, Money 71. Sie also Walkcr, Mo=ney, 'f.radc nrrd Incltrs'
 try 4; Nloulton,-FinanCial Organization 41; Ely, Economics, 4th rev. ctl.,
pp. 235-236.
     For legal definitions of "money" see: Johnson-v. State, (1.910) 16^7
Ala" 82, $: 52 So. 652, 140 Am. St. Rep. 19, 20; Klaubcr.,v. B-Lckcr-staff,
 (1879)'47 Wis.551, 557, 3 N. W. 357, 359, 32 Am. Rcp.773,776; Moss
v. Ha'ncoct, [1899]'2 Q.8.111, 116;27 Cyc.817; 15 Am" & Eng" Encvc.
of L.701; i glact stot*, Co--. 277;21Halsbury, Larvs of Englarrtl 36;
Childs, Personal Property, sec' 49.
     loFor a clcfinition of economic goods see Ely, Economics, 4th rcv.
ed., p. 96.
     uCf. Hadley, Economics 233; Kinley, Money 18.
     12For the other economic functions of money sec Anclcrson, 'l'lle
Value of Money 418; Seligman, Economics, 6th cd., pP. 449-450.
The;; other eco-nomic'functions as often outlined, are: a mcasttrc of
value, a standard of value, a storc of value, and 1 reservc for ccrtnin
credit operations. See Kinley, Money 46, and 'Iaylor, Chaptcrs on
 Money 61, to the efiect that a medium of cxchan-gc does not tlcces-
sarily-perform all the other economic functions of moncy.
     rsKinley, Money 40; Johnson, Nloney and Currency 5; Walkcr,
Money, Trade and Industry 6.
     r+ Ely, Economics, 4th rev. ed., p. 261 ; Walkc-r, Iloney, 'l'radc
and lnduiiry 58; lvfoulton, Financial Organization 18.
         Case 3:24-cv-01108-KAD        Document 1       Filed 06/26/24      Page 24 of 50


                       THE PROTIISSORY NOTE                          315

to be made, referred to as a standard of deferred pa1'ment,tc and
also that of a generally acceptable medium of making the defcrrcd
payment"l6
    Certain metals, namely gold and silver, were superior to other
goods as an unrestricted medium of exchange and in performing
the other functions of money.l? For various reasons different
types of paper money, either representative, conventional or
fiduciary,18 in time became substitutes for metallic monel' 35 a
generally acceptable medium of exchange and of deferred pa1'-
ment. Paper money, in order to possess the economic qualitl. of
general acceptability, should, it seems from histor),,to be readill,
convertible on demand into a definite amount of metallic nrcdia,
if such redemption is desired by the holder"xo
         Tsr Lecar, ArtnrnurEs AND FutlctroNs op ]Ioxa."
       At common larv, the title to metallic money, it being a chattel
and not a chose in action, could be transferred by the orvncr.3r
fn addition, the English courts, recognizing business necds,s:
exempted metailic money from the principle of the conrnton latv
     15See Adams, Description of Industry 188, for thc lcgal aspects
of the ecouomic function of a standard of deferred paymcnt.
     To the efiect that palrment, a tvord "imported into larv procecd-
ings from the exchange," is merely one method of discharging a
legal oblieation, see: Maillard v. Arg-vle, (1483) 6 }f. & G. {0, 45; ?
Greenleaf, Evidence, 16th ed., sec 516; 18 Am. & Eng. Encyc. of L.
149; 1 Domat, Civil Larv, secs. 2241, 2242, 2246. Sec also La., Saun-
ders, Rev. Civi[ Code, 2d ed-, sec. 2130"
     16"The function of acting as a medium of payment of dcbts is not
quite identical rvith that of facilitating exchange. An articlc may scrve
as a means of payment rvithout being a medium of gcneral circula-
tion and exchange"" Kin1ey, I{oney 64" Taylor, Chaptcrs on }foney
26. For a distinction betrveen money as a standard of dcfcrred pay-
ment and a medium of deferred payment, sec Andcrson, Tlrc \ralue of
Money 422, 436; I(inley, trfoney 46.
     uwhite, Money and Banking, 5th ed., p. 12. For thc recognition
of tobacco as "current money" see Crain v. Yates, (1828) 2. Harr. &
G. (Ifd.) 332,336^
     rsGide, Political Economy, Trans. from 3d cd., p, 3l{; Kinlcl',
trfoney 329; Setigman, Eionomics, 6th ed., p. 488.
     rsKinley, Ifoney 329-389; Gide, Political Economy, Trans. fronr 3d
ed.,- p. 321.
      =oFor the origins of paper money see: Seligman, Econonrics {93;
Bullock, Monetary History of the United States 3l; 2 Channing,
History of the United States 500.
    grWilliams, Personal Property, 18th ed., p. 670: Jcnks. Thc Earll'
History of Negotiable Instruments, (1893) 9 L.- Quart. -Rer'. 70, 76;
Ames,-The Inalienabitify of Choses in Action, (1890) 3 Harv. L. Rcr'.
337.
    rzWookey v. Pole, (1820) 4 B. & A. 1, 7; Bros'n r'. Pcrera, (.{pp.
Div. 1918) 176 N. Y. S. 215, 219; t lrfacleod, Banking, Sth ed., p. 49;
Tiedeman, Commercial Paper 1; infra note 87.
Case 3:24-cv-01108-KAD              Document 1         Filed 06/26/24       Page 25 of 50


316                  T'IINNESOI'A LAIV REVIEIV

that a persorl cau trans{er no better title than he ltas,sc ancl tlttts
enhanced the economic quality of general acceptability of rnctallic
money. This imrnunity of a bona fide holdcr,'{ \vlto hatl givcn
value in exchange for metallic nteclia, fronl claims o[ orvttersltill
was a marked legal characteristic of metallic n]ollcy,,o :tttcl as
paper rnoney developed snch inrnrunity rvas in tinrc extcntlccl to
holders of it.
      zsHiggs v. Holiday, (1599) Cro. Eliz. 74!t; !Villiarns, I'crsottttl
            -1Bth
Property,          ed., 670; Nlcrchants Loan & 'I'rust Co. v. Lilttlsotl,
(1S99)   gO  tlt. App. 18, 20; Childs, Personal Propcrty,, sec. 511 2 Schottler,
Personal Propcrty, 3d cd., sec. 20; Salmoncl, Jttrisprutlcttce, 7th ctl.,
p.
- 230"gaLord Nlanslield, in Clarke v. Shee, (1774) 1 Corvp. 197, 200,
said: "Where money or [bank] notes are paid bona fidc, and ltpon il
valuable consideration, they nevcr shall be brought brrck by t|c trttc
orvner; but rvhere they come rnala fide into a person's ltanrls, thcy
are in thc nature of specific property; and if their idcrrtity can bc
traced and asccrtained, thc party has a right to rccovcr"' Sec itlso
Solomons v. Bank of England, (1791) 13 East 135; Lorvndcs v, Atttlcr'
son, (1810) 13 East 130. For the right of an olvner of an ttttitltte coitt
to iecover it from a holder to rvhom a thicf hnd sold it' see lvloss v'
Hancock, Ii899] 2 Q. B. lll.
      26Cf.'Lord Holt's statement in Ford v. Ilopkins' (1701) 1 Snlk.
283, 284: "If money is stolen and paid to attother, .thc otvtter cilll
have no remedy against him that receivcd it; but if bank llotes . .
are stolen or lost, the orvner has such an intcrest or property itt thcttt,
as to bring an action into lvhatsocvcr hands thcy flrc come; Ilrollcy
or cash is not to be distinguished, but thcsc notes or bills arc tlistin-
guishable, and cannot be reckoned as cash, and thcy hnvc tlistinct
marks or numbcrs on them." See also liiggs v. Flolidny, (1599) Cro.
Ellz" 746 to the effect that the title to money is lost "bccattse it catrttot
be ltnorvn."
      Lorcl Nfansfield, in Millcr v. Race, (1i58) 1 Brtrr. 452,457, stlttetl,
horvever: "It has been quaintly said,'tltat tlte rcason rvhy Irrottcy catt-
not be follorved is becausc it has no car-marl<:'btrt this is llot trtle.
lfhe true reason is upon account of the ctlrrency of it: it c:rtrttot lrc
rccovered after it has passed in currency. . . . And this point ltns
been determined even in the infancy of bank-notes: for 1 Salk. lZ(t, it'l
rrisi prius, is in point. An'd Lord llolt Iinfra. notc 73] tlterc says
 tirat lt is by reason of the cotlrse of tradc; tvhich crcatcs a propcrty
in the bearer or assignee."
      In Wookey v. Pole, (1820) 4 B. & A.7,7, it rvas also said: "'['ltc
truc reasorr of this rule [immunity from claims of orvtrcrship of n pcr'
son rvho fairly obtains possession of moneyl is that by thc tlsc of
 rnoney the interchange of all other property is most rcadily accolll'
plished."
-   For a criticism of the reasoning of Lord Mansficld, in particttlar,
                                               l6 L. Qtrart. Itev. 1J.5,
sce Ervart, Negotiability and Estoppel, (1900)rra
152, to the effect that Mansfield mcrely says     good titlc to nrott-cy
passer becausc it is money;" that is,. a mctlium of cxchange rcntlily
icceptable irr tradc. Comparc thc vielv of thc Roman larv on this
point: Radin, Romau Larv 350-351; Sohm, Institrrtes of Roman Litrv,
3d ed., p. 304" See also, La., Saunders, Rev. Civ. Codc, 2<l ccl,, sccs.
2138, 2139; German Civil Codc (Loervry), sec. 935.
    For the origin of thc tertn "mottey has rlo eitr-tllArk" scc 2 Pol'
lock & Maitland, English Law,2d ed., p. 151.
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                     THE PROJII.'.'OITJ- :'OTE                          3t7

    tr,Ione1', in performing its economic furrctiorr as a gcncralll.
acceptable medium of exchange and its quasi-econonric function3u
as a medium of deferred paymerrt, also perfonns the rclatccl
function in li.rv of discharging absolutelyr fl1s legal obligatiort of
the debtor.?? An additional legal furrction of certain nrone)',
rvhether metallic or paper, is that of legal tender for privatc
debts.es This statutory function s'as first characteristic of nretallic
money in England,se and later in 1833 of Bank of England notcs
for obligations over five pounds, as long as the bank paid the notcs
on denrand in coin.3o In the United States paper n'ronev rvas not
made legai tender until 1862.tt

             Tup Lncar, QuarruEs oF NEcor:r,rrtltrv
    Since bills and notes, or negotiable paper as tlte;' are oftctt
called, are spoken of as being substitutes for monel', thc ecotronric
    soSupra note 15.
     2?"I{oney is defined as that rvhich passcs frcely fronr ltartd to
hand throughout the community in final discharge of dcbts arrd fult
payment for commodities, being ac.cepted cqually n'ithout rcfcrcncc
to the character or credit of the pcrsorl rvho offers it . . ." \\'alkcr,
Money, Trade and Industry 4. tr{oss v. I{ancock, [899] 2 Q. U. lll,
176; 20 Arn- & Eng. Encyc. of L., 2d ed., p. 837; {0 C. J. 1.190, n. 98.
     "If the Ibank] notes were takerr as negotiable instrutncnts, tltcn
they rvere taken subject to a conditiou. . . " If tltcy rvcrc takcrt as
money, absolutely and rvitlrout any condition, tltcrt tlte plaintitT took
them forlhatever\ they might be rr'ortlt. It rvould bc otlrerrvisc if
they s'ere forged, for then they rvould not be ivhat thcl' purportcd to
be." Camidge v. Allenby, (18?7) 6 B. & C. 373, 385. Accord: \\ralkcr,
Ifoney, Trade and Industry 15; Kinley, ]forrcl' 70.
     In the United States, as to the lcgal efiect of payrrrcrrt in ttotes of
an insolvent bank, not knorvn to be insolvent by cither part)', scc
Ontario Bank v. Lightbody, (1831) 13 \\/end. (N.Y.) l0l, 27 r\rtr. Dcc.
179, hold:ng that the debtor is only conditionalll. discltarged; llayard v.
Shunk, (i84i) i W. & S. (Pa.) 92, 37 Am. Dec. 441, holding that
the debtor is absolutely discharged, if the bank notcs arc trot coutltcr-
feit, the legal effect being the samc as payment iu rrretallic rtlonc)'.
See further Griffin & Ervin v. Thonrpson, (184'{) 2 Horv. (U.S-) 2{{,
11 L. Ed.253; Ridenour 1'" trfcClurkin, (iB{3) 6 Blackford (Ind.) {11;
Story, Promissory Notes, 4th ed., secs. 502, 506; Srnith, Lcading
Cases, 6th Am. ed., p. 751; 2 Parsons, Notcs & Bills !$7; 2 Atllcs,
Cases on Bills and Notes 875, n. 9; 2 }{ichic, Banks and Banking, scc.
196; Russell, Bills, 2d ed., p. 407; lB Am. & Eng. Encl'c. of L lGl, n.
1; 30 Cyc. t214; B C. J. 574;21 R. C. L. {1.
     ?sz9 Am. & Eng. Encyc. of L., 2d ed., p. ?5; 26 R. C- L. 616;
Laughlin, trfoney ch. 13.
     2s1 Blackstone, Comm. 277; Laughlin, \[one-r' 1{0-{{6.
     so(1833) 3 & 4 \4/ill. IV. ch. 98. sec. 6; 6 Halsburli Larts of Fng-
land 461; Attsor,, Larvs of Contract,'{th Am- ed.,0.519; I }facleod,
Banking, 5th ed., p. 45.
     sr30"'Cyc. l2l2; Laughlin, llonev 177- For colorrial antl conti-
nental paper money as legal tender see Hepburn, Histor5' of Currcncv
in the United States, ch. 1, 2.
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3i8                MINNESOTA LA'Y REV]EW

and legal attributes of money should be compared to the lcgal
qualities of negotiabiiity.
     "Negotiability" has been explained as a concept clesignating
a groLlp of legal ciraracteristics of certain commercial instrttmcnts,
such as assignability, which confers on the assignee the porver to
sue upon the instrument in his orvn name, the immunity of certairr
holders of such instruments from claims of orvnership, thc immrr-
nity of certain holders from equities of defense of prior parties
on their contractual liability, and a presumption of considcration.B?
    It is obvious that in the case of metallic money, it bcing a
chattel arrd not a chose in action, the question o[ the p,?wer to suc
the obligor never arises; nor need nretallic money be investerl
rvith any presumption of consideration or imrnunity from'defcnses
on coutractual liability. The only legal quality lvhich nretnllic
money possesses in common rvith the concept of negotiability,
therefore, is that of immunity frorn claims of orvnership. It rvas
not, then, until the issue of paper money in Englancl, in tlre fornr
of banl< notes rvhich appeated cluping the developnrent o[ the
concept of negotiability that the other legal qualities of negotiability
rvere discussed in connection rvith money.

  Florv Fan a Pnonrssonv Nors Is ,rN Ecoxolrtc awo Lnc,rl
                  SunsrrrurE Forr Mowny
     Negotiable prornissory notes issued in private credit trans-
actions clo not as a rule perform the legal function of nroney in
effecting an absolute discharge of a legal obligation,EB nor rlo thcy
function as legal tender. Thus these notes do not scrve as substi-
tutes for the legal functions of money, though such notes, itr
con-rnron rvith money, are invested rvith the legal quality of
inrmunity fronr claims of prior o'lvners lvhen in the hancls of itruo-
cent holders for value.
     g2Smith, Thc Concept of "Negotiability," (1929) 7 'I'exas L. Rcv,
520, 522; Kidd, The Negotiability of Bontls in California, (tql8) 6
Calif. L. Rev" 444; Chafee, Rights in Overclue Paper, (1918) 3l l-Iarv.
L. Rev" 1104, 1106; Aigler, Commercial Instruments, Tlrc Larv Nler-
chant, and Negotiability, (1924) 8 NIlNNusmn Lnrv RRt'rsw 361, 37,1;
Ansou, Larvs of Contract, 4th Am. ed., sec. 317. Cf. Etvart, Ncgotia-
bility and Estoppel, (1900) 16 L. Quart Rcv. 135, l4l;'fhc llasis of
Negotiability, (1924) 24 Col. L. Rev. 757; Negotiability by Cotrtrirct,
Estoppel or lJsage, (1925) 25 Col. L. Rev. 209. See also Goodrich,
Non-Negotiable Bills and Notes, (1920) 5Iorva L. Bull.67; (1928)
22 lll. L. Rev. 833, B3B.
     333 Williston, Contracts, scc. 1922; Anson, f,arvs of Contract, 4tlt
Am. ed., 518, n. 1.
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                       "I'HE PRO.lfl.tSORl', ItoTE                     .119


    \,Vith regard to the economic quality of general acceptability
or common currency3a of a medium of eichange, a bu;'er's pron:is-
sory note, in contrast to his money, possesses this characteristic onll'
to a limited extent.3s The. free circulability of such a note, once
accepted in exchange by the seller, is also vastly less tltan that
of money of the buyer rvhich might have been deruanded. Nor
does a promissory note, other than those knorvn as papcr n'tone)',
perform the other economic functions of monel', for it does not
serve as a medium of deferred payment, as that fttnctiorr is
performed by the money in rvhich the note is payable,to the santc
as in other credit transactioru.
    Furthermore, a promissory note s'hen taken in lieu of n:otrey
carries rvith it in contrast to metallic money the uncerh,in$' of
collection due to the risks of the insolvencl' of the nraker and of
real defenses on contractual liability.t' This uncertaintl' made evcn
bank and government notes a partially unsatisfactor;' tt't1rt,',u,"
        s+'Walker, I4oney Trade and Industry 12.
    35"The medium-6f restrictcd circulation, or non-currcnc-r', inctu<l-
ing (1) credit paper rvhich does not circulate gencrally, as checks and
drafts, representing bank deposits; and bills of exchange, rcprcscnt-
  - goods.
ing         . ." Kinley, trfoney 40. Accord: Westcrfield,- Banking 40.
    t'Credit differs from money in that not all forms of it possess an
equal degree of acceptability. . . lVe divide credit, thcrcforc, into trvo
c6sses: (1) credit of general acceptability, such as grccnbacks and
bank notes; (2) credit of limited acceptability, such as bank cltccks,
drafts, and prohissory notes." Johnson, I\foney and Currency 5. Sce
also Walker, llfoney, Trade and Industry 6.
    3eFor the term
                      "money'' as so used, see Oliphant, TItc Thcory of
l{oney in the Larv of Cohmercial Instruments, (1920) 29 Yalc L. J.
 606.
        37See Norton, Bills & Notes, 4th ed., secs. 93, 94 on real dcfcnses.
'Like money a negotiable instrument is intended to ltavc a definite
value and to be takEn almost at sight, free from the nccd of invcstiga-
tion into outside facts. . . When genuine it ought to servc as tltc
equivalent of money, except for the distant maturity and the risk of
irisolvency of private perlons and their lcgal incapacitv." Cltafcc,
Acceleration Piovisions- in Time Paper, (1919) 32 Harv. L. Rcv. 747,
750"
     "If bills and notes rvere really a substitute for moncy' not only
rvould risks of insolvency, and risks of rcal dcfenscs have to be
greatly decreased and standardized, but the form of PlPer rvould havc
io be such that a prospective purchaser coutd readily calculatc the
present rvofth of the paper. To do this he must be certain ryltcn ltc
is to be paid, horv much, the present market value of monc.t', and
rvhat interest his paper bears. " . \\rhat classes of currctrt comnler-
cial paper rvould rve have to rule out under this standard?" Francis,
Do Some of the lfajor Postulates of the Lau' of Bills and Notcs Necd
 Re*Examination? (1928) 14 Cornell L. Q. '11, 49.
     See Bigelow, B;lls, Notes and Checks, 3d ed., sec. 3{, on risks
rvhich make a check an unsatisfactory "circuliiting mcdium." See also
Walker, Money, Trade and Industry i5; El1', Economics, 'ltlt rcr" cd..
 p.235.
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for metallic money as a nrecliunt of exchange and of tleferrecl pay-
ment, arrd has resulted in legislation to iusttre the recletnption of
sucl-r bank arrd governmetrt notes in metallic tttottcy.ss
    Ilecause of the legal qualities of negotiability it nray be tnorc
advantageons for a creciitor to accept a negotiablc protttissory trotc
in exchange rather than rely on a mere rvritten 1>rotttise to 1:uy, atr
open account or other creclit clevicc. 'I'hus thcse lcgal tlualitics
oI negotiability may make sttch an insffttnrertt nrorc reatlily
acceptable in trade anci more easily convertible into tttoncy than
other credit clevices. Furtherrnore, the use oI the pronrissory notc
as a credit clevice may facilitate a grezrter exchange of econonric
goods by permitting those n'ho lack money or other ccononric
goods to purchase and clefer paymcnt. I3ut this sarne ccononric
resnlt is accornplished in any credit transaction, regardless oI tlrc
credit device used."o
    'f he relation of prornissory notes to money is that notcs
dispense rvith a present transfer for a deferrecl transfcr of ntoney
and in that sense may be callecl a means of facilitating cxchatrgc
and thus a substitute for a present transfer o[ money. But if thc
promissory note is a substitute for money, so is crcdit;r0 anrl so
     38White, Money and Bankirrg, 5th ed., ch. 10, 14, 22; Iloultorr,
Financial Organization ch. 7, ?4; \)yc, Principlcs of Econotnics 200-
204; supra note 27.
     3$"Credit is only an extcnsion of cxchange-cxchangc iu tirnc irr-
stead of iir space." Gicle, Political Economy, Traus. frorn 3rl c(1,,
p. 384. Scott, Nloney and Banking, 5th ed., p. 92.
     "Credit and moncy are uot t'rvo different thitrgs; cretlit, indccrl,
is not a thing at all, but mercly the natnc givcn to a conrtrron ttrtl
important rrse of money. A marr rvho buys anytlring rvith crcrlit rcllly
buys rvith moncy, the payrnent being rnercly rlcfcrrcd, Ilroirtll"y
defined, credit is the power to get goods in cxchangc by giviug ir
prornise or a contract to delivcr an equivalcnt at sotnc ftttttrc titrte. " ,
At the present time, in almost all credit cxchanges tlloncy is thc tlring
promised. FIence credit may be concretcly defincd as a protrtisc to
pay money." Johnson, NIoncy and Currency 4.
     "Out of credit transactions arise variou.s l<intls of crcdit pal)cr, or
instrurnents. The rnost common form of these are bills of cxchartge,
promissory notes, and drafts. . . Crcdit instrumcrrts, thcrcforc, are
simply a means of facilitating thc cxch:rnge of goods." I(irrlcy, lvloue-y
202.
     "The note and mortgage are mcrely thc tcgal mcthorls irrtoptctl
to make rcpayment more certain; thcy arc not csscntial iu tlrc crcrlit
itself. . . Legal and customary forms irrtcnded to sccurc pa-vtucut
have created different devices iu thc samc community. I u orre
situation, for instance, a book cntry, in atrothcr a bill of cxchtnge, irr
another a promissory notc, are found most sttitablc. . . 'l'lrc rrrrrlrte
insistcnce upon legal forms arising out of credit tlra"vs attcutiotr
arvay from the economic processes essential and intrinsic to it to tlrc
non-essential and externat forms outsidc of it." Lattghlin, iVlorrcv 76.
    aoFor "crcdit as a substitute for money" sec Wcsterfreltl, l]tttlcing
32; \Iill, Political Econonry, bk. 3, ch" 11.
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                      THE PROi/1.t-tORI' it OTE                            321

are all credit devices media of oichange.{r But rvhen the term
"substitute for money" is used in connection n'ith llrontissory
notes, it is not believed it is used in the sense of a nrcdium of
exchange of limited acceptability rvhich merell' facilitates trade
by means of deferred payment but as an actual substitute for
money.
     Tgp Appaena,NcE oF rse BexxER's NorE rN ExclaHu
   In England, during the seventeenth and eighteelttlt ccttturics,
rvhen the larv courts rvere first developing tlte concept of l:ego-
tiabilityn" ivith reference to bills and notes, the monel' of England
consisted primarily of gold and silver coins.*3 Thc Bank of
England note was not issued until 1694,"' tvhetl this privatcll'
orvned institutionnt was incorporated by the governmettt, its ttotcs
not becoming legal tender until 1833.t0 \\Iith no goverlrnrent
paper money or bank notes{? available and s'ith the nrodern
     For the influence of credit, as a substitute for nlotlc)', otr priccs
see Kemmerer, I{oney & Credit Instruments itr thcir Rclatiotrs to
General Prices; Seligman, Economics, 6th €d., p. 518; I-aughlin,
Money 114.
      41-"Credit being in its simplest fornr a transfcr of goods involvirrg
an obligation to return an equivalent irr thc futurc, it rvill bc found,
horvevei, that in modern society credit has developed in practicc into
something more akin to money. . " Its cssential rclation to tltc sttb-
ject of money is to be found in the fact tllat sociqt.v in crcdit lras
Lreated a -"dium of exchange." Laughlin, tr{oncy 83. See also Kirr-
ley," tr{oney 43; Scott, I{oney and Banking' Stir cd., p. ll'
      "And when the representatives and substitutcs for nrotre)', strclt
as bank notes, bills of exchange, chequcs, etc.' canle iltto usc' tltc lex
mercatoria, or custom of meichants, applicd t[c-_-samc doctriltc or
principle oi cuttet.y to them. They rvere treated likc nronc-r' in so far
is thii, that the property in them passes likc thc propert)' itr trroncS'.
- - lt is thus seen thlt in strict las' this principlc of currcncy catt ottl.t'
be applied to tirose rights t'hich are recordcd on somc lrratcrial.
Tfrui ihe gigantic mass of bank credits and book dcbts of tradcrs haYc
all effected i sale, or circulation; and thcreforc they arc nll circulat-
ing medium; but they are not currency in S lcgal scnsc: bccausc tltc.v
ca"nnot be irislaid or lost, or stolen, and passed arval' b.v ntanual
delivery." 1 }facleod, Banking, 5th ed., pp. 50-51.
      a2Aigler, Commercial Initruments, The L1\*'- trIercharlt, altrl
Negotiabiliti, G924)     B tr{rxxLsor,t I Aw Rrvrr,rv !18; S- I-Ioldsrvorth,
                       -Larv
His"tory of nnltist           163-161; Aigler, Rc-cognitiorr-of Nerv 'l'ypcs
of Negotiable Instruments, (1924) 21 CoL L. Rcr'. 563' 56{.
      a3I Blackstone, Comrn. 277; 6 Halsbur5', Larvs of Englarrd {01;
5 Tookc, History of Prices 534.
      +{Bank of England Act, (1694) 5 \\r. & trf. ch. ?0, scc. 20. I;or a
brief summary oithe earl1'       history of bankirlg irr--England see \[ar-
                              -Commcrce,
shali,   I{oneyi  Credit  and               App. E; \\rillis and Eckhart.
Foreign    Banking   Systems  11'14"
- --,t"D"nba., d.trtittE,2d ed.,-ch. l1; Philippovich,- Historl'-of the
Bank of England, tr{e-iedith's T1an.s., reprinted as \rol. I, National
tr{onetary Commission Report (1911)-
      aoSupra note 29.
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system of checks on bank cleposits yct ttndcvclopeclrs an cco-
nomic if not legal substitute for metallic money rvas necclecl, dtrc
to the dangers and annoyance in thc transportation of ruetallic
money and the risk in keeping in one's possession a large iln'rorlnt
of coin not easily hidden.oo
    About 1645 it became the 1>ractice in England of goklsnritlrs0Q
to issuo notes promising to repay on demand money clepositcrl.
'Ihis nroney was necessarily rnetailic, as no paper tnedia htcl bccn
issued by tile English government.'r Such notes werc first givcn
for the entire sum depositecl and later a number of notcs rvcre
issued equal to the total deposit.be 'Ihe nature of the tratle o[
goldsmiths, lvhich requirecl them to deal in precious trtetats,
     q?For the differences betrvecn bank notcs and govcrrrmcrrt
                                                                 1>irper
rnoney see Gide, Political Economy, Trans. from 3d cd,, p. 424,
    asBagehot, Lombard Street, nerv ed. 1915, p. 83, placcs tlrc tlirtc
of the fairly wide use of the checkirrg account in Englantl nt lBJ0, iu
lieu of the system of, exchange of bank notes for moncy tlcpositctl irr
a bank. See also Goodrvin v. Robarts, (1875) L. R. 10 lixch. 337, ill;
2 Halsbury Larvs of England 460; infra notc 60.
     For a very early use of checks scc I llcalvcs, Lcx Mercatoria, or
a Complete Code of Commercial Larv, 6th ecl., p.397;8 }loltlsrvortlr
History of English Larv 190.
     {0Holdsrvorth, History of English Lalv 130, 185; I-Ioklsrvorth
Money and Banking 37.
     soThe Mystery of the Nerv-Fashioued Goldsmiths or Ilarrlicrs,
(1676) a pamphlet reprinted in (1888) 2 Q.J.of Econ. 251; Gorlfrcl',
A Short Account of the Bank of England, a pamphlct rcpriutctl irr 2
Francis, Bank of England, 3d ed., p. ?47,247; I lvlaclcod, I3anking, 5th
ed., pp. 436-437; Dunbar, Banking 192, n. 1; Aiglcr, Comtrrercinl ln-
struments, Thc Law Merchant, and Negotiablity, (1924) B NtrNNr:-
sora Lrrlv Rnvir,w 367, 364; 8 Floldsrvorth, Flistory of E,nglish Lnrt
172, lB5; 2 Street, Foundations oI Legal Liability 3671. Courtney,
Banl<ing, 3 Ency" Brit., 9th ed., p. 316: 2 Palgravc, Dictionrrry of
Political Economy 227; Gras, Ecottomic History 251; Willis & Eckhart,
Foreign Banking Systems, 1144.
     51"The first paper lgovernment] currency rvas issued b-r, NInssn-
chusetts in 1690. This rvas thc origin of paper moncy in ilIassaclru-
setts, in the American colonics, in the British Empirc, arrd nlurost irr
the Christian rvorld." 2 Channing, History of thc Unitcd Stntes 50(),
Seligman, Economics, 6th ed., p. 492. Sce also lvlarshall, Iutlustr-y irrrtl
Trade 723, n. L.
     "The fact is. that 'gotdsrniths' rcccipts' for coirr, lodgc<t u'ith thern
in their capacity of bankers, hacl. for cortvcnicncc. bcen sonretirncs
transferred from hand to hand; and thislvns the uenrest nppronch t<'
paper-moncy that had bcen accomplished." Doubleda.y, [rirrarr ciirl
History of England 78.
    "The receipts thcy issucd for thc moncy lorlgcd at thcir houses,
circulated from hand to hand, and rvcre kuolvn by thc nanrc of Goltl-
smiths' notes" These may be considerecl as tlte first bank rrotcs issuctl
in England"" 5 Tooke, History of Prices 534, n. Scc also I Fr:rrrcis.
Bank of England. 3d ed., p.28, quoting from Gilbart, (Dcc. 18.5.1) l7
Statistical Journal.
    528 Holdsrvorth, History of English Larv 190.
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                     THE PRONI/-S.9ORY NOTE                            323

prompted them to accept deposits of coins. In addition, the
behavior of Charles f, in 1m,ts rvhen he made a conrpulsory
loan from the merchants rvho had deposited metallic money in the
Torver of London for safe-keeping led to the development of this
system of privately orvned banks.6{
    The notes of the goldsmiths, md later those of the private
bankers,ss were promises to pay on demand in metallic nloney
and were issued by dealers in precious metals and custodians of
funds rvhose cailing supposedly required the keeping on hand of
a sufficiently large supply of gold and silver coins to rcdeenr
these notes rvhen presented for payment. Here \\,as a banlting
instrument, payable in metallic money, offering many advantages
to the mercantile rvorld in the rvay of transportation, concealntcnt
and safefr of funds, at a time rvhen paper money did not exist and
the system of deposit currencyso rvas undeveloped. These notes
were acceplable in tradg in London at least, in lieu of metallic
money,s? since they were unconditional promises to pay a sum
certain in gold or siiver.coins on demand, subject of course to
the risks of insoivency of the issuing goldsmith or private banker.Es
    531 Macleod, Banking, 5th ed., p. 435; (1888) 2 Q.    I. of Econ. 260,
n. 7; 5 Tooke, History of Prices 534, n; 2 Strect, Foundation of
Leedl Liability 367; Aigler, Commercial Instruments. Tltc Larr' trfer-
chant, and Ni:gotiability, (1924) B trftwNpsme L.trv Reuetv 361, 364,
n. 14.
     s+8 Holdsrvorth, History of English Larv 185-189; Gidc, Political
Economy, Trans. from'3d ed., p. 425.
     55See (1838) 2 Q. l. of Econ. 26?, n. 9. For classificatiort of
banks, see tr{oulton, Financial Organization 358.
     ssFor this term see Laughlin, trfoney ch. 5.
     For the manner in rvhich the developmcnt of thc issuc of banli
notes prepares the rvay for the deposit of money, sce Bagchot, Lonr-
bard Strelt 87; Dunbar, Banking, 2d ed., p. 54; Plucknctt, History of
the Common La.r 232.
     See Magee, Money and Credit 85, that a bank note and cltcck arc
both demand obligations of a bank, but that as a medium of cxcltangc
the former has general acceptability rvhile the lattcr lras limitcd
accepfability. See also 2 trfacleod, Banking, 5th ed., p. 310, ott "batlk
credits as ready money."
     5?"Here is. no obligation laid on any one to pay in bank ntoncy
 Ibank of Enelandl, or to be satisfied rvith bank notes; but evcryonc
is at liberty t6 insilt on payment in the current coin on thc Kingdom:
                      -cash,the readiest payment, and- a few minu-tel m-a]'
Yet, as the forrner-are
convert them into             they are commonly preferrcd, cspecially for
any large sums." 1 BCarves, Lex lt{ercatoria or a Comptctc Codc of
Commeicial Larv, 6th ed., 395.
     See also excerpt infra note 83, from Tasscll and Lec r'. Lcrvis.
 (1696) 1 I-d. Raym.743,7M1 S lloldsrvorth, Historv of English Lary
      n, L0.
191,'58For
             the effect of the behavior of Charles If, in suspcnding pa,v-
ment from the Exchequer, upon the solvency of the goldsmiths in 1672,
see 1 Francis, Bank of England, 3d ed., p. 33i I trfaclcod, Banking, 5th
 ed., 447;2 Sireet. Foundaiions of Legal Liabilitv 367; (1888) ? Q. J.
of Econ. 260, n 7.
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32+                  tullNN ESO'l'ti L,'ILV REVIETV

   It seems, therefore, that in the latter half o[ the sevcntcctrth
cerrtury the ingenuity of the English conrnrercial interests in
London had rvorked out an economic ancl lcgal strbstittttcrt' fol
metallic money in the form of cash notes.0o 'l'he urcrcantilc arlcl
financial groups of London, foreseeing the neecl, in thcir itrttuc<liatc
trade relations at least, of a netv motretary systent';t trot cotrsistitrg
     "r\t first, thc Bank of Englancl 'coiuetl, in short, its orvtt cretlit
into papcr moncy,' follorving the practise of thc goldstrtiths atttl privirtc
bankcrs; thus issrring ttotes lvhich mercly rcprcsctttctl a sttnt it agrcctl
to lend the borrorver and not an actual clcposit of coitts." B l-loltls'
rvortlr, History of English Larv lB&189, l9l; 2 Palgrave, Dictitlttirry
of Political Econorny 227. 1 Bcarves, Lcx Mcrcatoria, 6tlt ctl., l):
397, also states: "A certain amount of sp.ccic, -horvcvcr,. prgportiottctl
to ihc extent of their paper crcdit is recluisitc for clclt ltottsc .. for
their orvn notes issuccl payablc oq dcmand. We thercforc plirirrly
perceive in the first instance, that bankers ought to bc_mcrt t>f cottsitl'
erable propcrty." Accord: 'fhc Nlystery of the Ncrv-Fashionctl (ioltl-
smitlrs or Bankers 7, repriutetl in (1888) 2 Q.J.of licorr' 251.
     See, horveve r, Gicle, Political Ecottonry, 'I'ratts. [rotlt 3<l e<1., p.
122, n. 1; "'I'his ingenious itrvention Ibank trotcs trot rcprcserttillg-a
deoosit of coinl is attributccl to Palmstruclt, lvho fotttttlcd thc Stocl<'
hoim Bank, in i656. The ancient bankcrs of Italy antl Arnstcrtlntrt irrrtl
the goldsmiths of London issuccl notes, it is trttc, irr tlrc sevctttcctttlt
celtury, but those notes representcd simply thc coin rvfticft the.v ftittl
in reserve; they rvere deposit rcccipts, not trttc battk-notcs." ('otttrn its
concerns the Dutch banking systcm, sec Pctt-v, Political AritIrrrctic,
 ch" 1, reprintcd in B Arber, An Iinglish G:rrner 23.
     The issuance of deposit receipts of reprcscntativc papcr ttroltc-v is
 based on the "currency principlc of bank rrote isstte," itt corttritst lo thc
 "banking principle of note issue" rvhich means thc isstrc oI ttotes rvltett
 the bank lep{s its credit. 'lhc bankilg principlc, rvhic[ t[e llattk pf
 England borrorved from the golcismiths, was sttpcrse<lctl, irr lritrt, by
 the "currency principle of note isstte" rvith rcgard to tlrc lllrtrl< of
 England, as a rcsult of the Currency Act, (1844) 7 & B Vict, ch..l2.
 See also Gide, Political Economy .l'rans., frorn 3d ccl', 433; Sc'ligtrtatt,
 Economics, 6th cd., p. 525; Kinlcy, ilIoney 363. C[. Clrnlrrrcrs, itrfrir
 note 94, rvhere these trvo phrases are uscrl, in art often citctl <lttotatitrtt,
 as being synonymous in meaning.
     On "bank cretlit" see I3yc, Economics 212; -lolrnson. Ilortcy att<l
Currency 44.
    5c"11'hesc notes of Iprivate bankersl are as caslt. ." \Virltrtslc.v r'.
Child, (1749) 1 Ves. Sen. 342, 343. Scc also itrfra notc 8J.
    60"Checks on bankers havc norv srtpcrsctletl goldsnriths'trotcs, itt
London: but bankers' caslt notcs, or, as they tvcrc fortncrly clllctl.
shop notcs, and country bank notcs are now rvhart goltlstnitlts'lrotcs tt'crc
formcrly." Byles, Bills of Exchange, Promissory Notcs, Rattl<-Notes
an<l Checks,Sth Arn" cd., p.81. Sce also Crttgcr v. Artnstrong, (1802)
3 Johns" Cas. (N.Y.) 5,9,2 Am. Dec. 126, 129; Clritty, A 'l'reltise
on- Bills of Exchange. Chccks orr Bankcrs, Promissory Notcs, Ilitttl<crs'
Cash Notes, and Bank Notes 554. Cf., hotvcvcr, tltc "cilslt ttotc" ilt
Grant v. \/aughan, (1764) 3 lltrrr. 1516'
     GlFor a discussion of propose<l chtttgcs in thc frnatrcial att(l tttotte-
tary systcm of Englan<I, by introduging crcclit.itrstrutrrcttts irs ccottolttic
substilutes for metallic n'roncy, cluring thc sistecntlt atttl sevcttteetttlt
centuries, see Riclrards, Iiarly Iinglish llanking Schctncs, (1928) I
Journal of Economic arrd Bttsincss I-Iistory 36, 5l:3 Scott' Joint^Stoclc
 Companies to 1720, 799-209: 4 IlIacaulay, ]Iistor-v of Iitrglarrtl 5'10;
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solely of metallic media, rvere thus utilizing thq ppiyals banks of
issue to meet their demands. It u'as these pronrissory notes, irr
the form of goldsmiths' or bankers' notes, u'hiclt appearcd rvith
greatest frequency before the English courtso= at the tinre of the
development of the concept of negotiability.ot
    In the United States it s'as this sarne tlpe of bank note,
issued by privately ou'ned and state incorporated banks,a{ rvlriclr
came to be an economic substitute for nrone)' as a rrrediurrr of
exchange and of deferred payruent and in some jurisdictions a
legal substitute for money in effecting arr absolute discharge of
debts rvhen accepted as money.ot In F. atd l[. Bank of )[unl,ltis
a. Ioseplt. Wlite66 it rvas said:
   "Bank notes differ essentiallv fronr prontissorl' rtotes and othcr
rregotiable securities for money. They are not, 1>roperl-t' speaking,
evidences of debt or securities for money; but are treated as
money, in the ordinary course and transaction of business b1' the
general consent of the community. Thel' are transferable b1' de-
Iivery and are issued and put in circulation u'ith the avon'ed in-
tention that they shali pass from harrd to hand ancl circulate as
money. "".tt
    I-a"ter this sa-rne court, in holding tl:at the accel)tance in
Dunbar, Early English Banking Schemes, (1888) 2 Q. J. of Econ. {83;
8 Holdsrvorth, History of English Larr' 189.
     a2The bill of debt, or bill obligatory, a possiblc lcgal antcccdcnt of
tlre promissory note, by 1622 "had fourrd scant rccognitiolr irr thc
custom of English merchants and occupicd a corrrparativelf insignilicant
position in the English lau' of contract." 2 Street, Foundatiorrs of
Leeal. Liability 366. See also Cranch, Promissory Notcs bcforc and
after Lord Holt 3 Sel- Essays in Anglo-Am. Leg. Hist. 79; .{islcr,
Commercial fnstruments, The l-au' Irlcrchant, and Ncgotiabilit-v, (19:{)
8 ]tfrxsrsore Larv Revrrl 362, 364.
     To the efiect that until Lord Holt's campaign against pronrissorl'
notes, about 1700, no distinctiorr rvas drarvn iu thc reports brrt\rocrr
bills of exchange and promissorS' notes, see.8 Holdsrvorth, Histor-r' of
English Law I7l-172;- 2 Street, Foundatiorrs of Legal Liabilitl' iog:
Cranch, Promissory Notes before and after Lord Holt, 3 Scl. Essnys
in Anglo-Am" Leg. Hist" 83 ; Story, Promissor-v Notcs, {th cd., scc. cr:
Grant r'. Vaughan, (1764) 3 Burr. 1516, 1525. Scc also scc. -19 oi
Bank of England Act of 1694, 5 \\r. & trt. ch. 20 rshere tltc Barrli <rf
    'ca8 notes were described as bills obligatory' or bills of credit.
England
         Holdsu'orth, History of English Larv 172, 175; 2 Strcct, Iiounda'
tions of Legal Liability 363, 368; Aigler, Commercial Instrurnents, TIrc
Las'tr{erchant, and Negotiability, (1924) 8 \Itxxp.sor* Larv RrrtErv io{;
Cranch, Promissory Notes before and after Lord Holt, 3 Scl- E,ssa1'"^
in Anglo-Am. Leg. Hist 81-82. (This essay first appearcd as Notc
A to \fandeville v. Riddlc, (1803) 1 Cranch (U.S.) 367, {12, 2 L. Ed.
139, 457).
    6{5ee ltloulton, Financial Organizatiort 358, on a classilicatiort of
banks. See White, I{oney and Banking, 5tlr ed., 291-3{8. ott statc barrlt
notes-
    GiSupra note 27.
    oc1l855) 2 Sneed (Tenn.) 48i. 483.
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payment of a genuine but rvorthiess banl< note was an absoltttc
discharge, said:
   "The supposed commet'cial interests of' our cottntry and the
general convenience of ottr people, have produced a cottrsc of
l-egislation by rvhich the bank paper has become the circtrlating
mtdium and the standard of value, instead of specic. True, it has
not been made a larvful teuder, ancl cannot be rvithottt a change of
the constitution.
   "But by almost universal consent it has bccome the mcdittrn
of exchange and the representative of property. It has talccn thc
place of the precious metals, and is regarded as money. 'I'his,
horvever, is by consent, ancl not by larv. No man is bound to reccivc
it in payment of debts, or for property."0?
    Everr in Ontario Banle v. Liglttbody,os rvhich hcld that banl<
notes rvere not legal substitutes for money, in effecting an absolute
discharge rvhen accepted in payment unless redeemable, the f ollorv-
ing excerpt will sholv that they rvere clearly econonric substitutes
for an unrestricted medium of exchange:
   "It is admitted that bank notes, as the circulatory meclinnr of thc
country, have acquired the denomination .of money, .front tltcir
convenience as substitutes for gold and silver, and their trtility
in promoting the objects of trade, ancl in exchanging the products
of industry; but if after a banl< has failed, its notes are deprived
of those characteristics of money lvhich entitled thenr to that
appellation by the custom of trade, rvhile they continuccl at a
vilue equivalent 'with specie or nearly so. Their convertibility
into specie being lost, and their polver of circulation being dc-
parted, not one of the irrgredients of money remain, ancl they
can be legally defined only as unpaid promissory notes. . . .' Its
great convenience and the hitherto indispensable necessity of its
use have created the idea, that it should be clothed rvith thc
attributes oI real money . . ."

   FIoiv Fnn ruB Bnrvxnns' Norns Wnnr ,r Suus, trurE rtolt
                        Mrrrur.rc Moxrv
   Even though the mercantile interests of London in the latter
half of the seventeenth century attempted to develop an ccottomic
substitute for a generally accepted metallic medium of exchange
   oTWare v. Street, (1859) 2 Head (Tenn.) 608, 612.
   aa1l834) 13 Wend. (N.Y.) 101, 111, 712,27 Am. Dec. 179, 185, 186.
"Thus, for example, as lve all knolv, bank notcs payable to bearcr . . .
pass in the ordinary intercourse and busincss of lifc as moncy,. atttl
iirculate, and are treatcd as moncy. They are not, indccd, in a lcgnl
and exact sense, money; but, for common purposcsr they posscss tlte
attributes and perform the functions of rnoncy." Briscoe v. Btnl< of
Commonrvealth of Kv., (1837) 11 Pct. (U.S.) 257, 330, 9 L' Ed. 709'
738. Sce also supra note 27"
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and of payment, did. such notes possess the legal qualities and
perforrn the legal functions of metallic money, the only nroney
in existence in England at that time ?
    Obviously the goldsmiths tried to inv6st their notes rvith the
legal quality of assignability, a quality somervhat similar to trans-
ferability of title of metallic media, rvhich tvas a chattel and not
a chose in action. But the irritation of Lord Holt,oo about 1700,
over the inventions of the goldsmiths of l-ombard Street rvhen
he denied the iegal quality of assignability to their prornissory
notes in "disregard of the customs of merchants"?o is too rr'cll
kr:orvn to discuss here"
    In 17M, by the Statute of Anne,?r promissorl' uotss \vere re-
invested?3 or invested with this legal quality of assignabilitl', so
that the transferee might sue in his orvn name; though ten )'ears
earlier the uotes of the Bank of England had becn madc assign-
able by statute.?3 It rvas not until 1758 that immunity fronr clainrs
of ownership, the marked legal characteristic of metallic mone)r,
rvas extended to bank notes in trIiIIer u. Rocc,ra a case referred to
as the leading one in the larv of bills and notes,rs u'hdrein appear
these repeatedly quoted rvords of Lord tr{ansfield:
   "But the rvhole fallacy of the argument turns upon comparing
bank-notes to rvhat they do not resemble, and u'hat the;' ought
     oeClerke v. lrfartin, (L702) 2 Ld. Raym. 757; Bullcr v. Crips, (1701)
6 ltfod- 29; Cranch, Promissory Notes before and after Lord Holt, 3
Sel. Essays in Anglo-Am. Leg. Hisr 9l; Plucknett, Historl' of Conrmon
 Law 232.
     ?oAmes, Cases on Bills and Notes 879, n. ^{.
     zt(1704) 3 & 4 Anne, ch. 9, sec. l.
     ?3Ames, Cases on Bills and Notes 879, n. 4; Goodrvin r'. Robarts,
 (1875) L R. 10 Exch. 337, 350; 2 Street, Foundations of Lcgal Liability
385, n.8.                                                 ,

    For an oiplanation of Lord Holt's t'iervs see 8 Holdstvortlr,
History of English Law L73-!75; Aigler, Commercial Instrumcnts, The
Law }{erchant, and Negotiability, (1924) B }frNxnsorrr L,uv Restr,rr
366, n,20.
     ;sBank of England Act, (1694) 5 W. & Itf. ch. 20, scc. 29.
     In Anon., (1698) 1 Salk 726, a case involving a bank note, Lord
Holt saitl that a bona fide holder for value of such a note rvas inrmune
from claims of ownership "by reason of course of tradc," Yct in
Buller v- Crips, (1704) 6 trfod. ?9 in a case involving tlre assignability
of a note issued by a banker, he said, "and those notcs are not in the
nature of bills of exchange; for the reasdn of the custom of mcrchants,
is for the expedition of trade and its safety. . ." I Holdsrvorth, Histor-v
of English Lanv 774, n. 2, explains that apparent conflict by saying that
the note in the earlier case lvas perhaps a Bank of England note made
assigxrable by sec. 29 of the Bank of England Act of 1694. Supra note 25.
               1 Burr. 452,457,459.
     "4(1758)
     ?sAigler, Commercial Instruments, The Lau' Itferchant, and Ncgo-
tiabilitv 0924) 8 trfrxrr'esora Llrv REvIr,w 378, n. 72; 2 \Iacleod, Bank-
 ing, Sth ed., p. 294.
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not be compared to, \i2., to goods, or to sectlrities, or documents
for debts.
  "Now, they are not goods, not secrrrities, nor clocunrcnts for
debts,?o nor are so esteemed; but are treated as utoney, as caslr
 Imetallic money] in the ordinary collrse and transirction of l-:usi-
ness, by the general consent of mankind; rvhich gives thenr thc
credit and currency of morley,?? to all intents and purposes. 'fhcy
are as much money, as guineas thenrselves are; or alry othcr
current coin, that is used in common payments, as llloncy or
cash.         A banl<-note is constantly and universally, boLh at
home and abroacl, treated as money, as cash; ancl paicl arrd
received as cash; and it is necessary for the purpose of conrrnercc,
that their currency shoulcl be establishecl ancl sccured."
   Lord Nlansfield certainly had no clifficulty in extcnding to an
innocent holder for value of a note of the Bank of Iinglancl thlt
immunity from claims of orvnership rvith rvhich, irr ordcr to pro-
mote the greater currency of metallic money, similar holders of it
had already been investecl"Ts Bank notes by 1758 representccl
at least an economic substitute for metallic nrorrey?0 i[ not a
     ?oCf. Judge Story's interpretation of this excerpt in IJank of Unitcrl
States v. Bank of Georgia, (1825) 10 lVheat. (U.S.) 33i,347,6 L, lid.,
 344,338, rvherein he said: "" . . and, as Lord lvlarrsficld obscrvetl in
Miller v. Race, (1758) 1 Burr. 457, they Ibank notes] rrc not lil<c
bills oI exchange, corrsiclered as mere sccurities or docrlrrrcuts fr>r
debts." Accord: IJriscoe v" Bank of Commonlvcalth of I(y., (lBJ7)
11 Pet- (U.S.) 257,9 L. Ed. 709; Walker, Nloney, 'I'rade anrl Inrlustr.v
13; Russell, Bills,2d ed., p. 59; (1920) 29 Yale L.J.p.6tJ6,6ll, n. 19.
Scc, horvever, Salmond, Jurisprudence, 7th ed., p. 230, to the cffcct
that "bills of exchangc ancl bank notes rverc rccogrrizcd [irr i\lillcr v.
Race] as ecluivalent to coitt. . ."
     l;"Some of the articles rvhiclr enter into the mcdium of c,tclraugc
are generally current, or commonly acceptetl in paymcnt, rvithotrt. irny
referencc to any characteristic except their passablcncss. 'lhcsc articlcs
constitute the currency. Other portions of the nrcdiunr of exchangc rltt
not have a circulation rvhich can properly bc callcrl gcncrlrl; thcy irrc
acccpted primarily becausc of thc crerlit of thc issuer, arrrl arc rrot
currency." Kinley, NIoney 39. See also I NIaclcod, Bankiug, Stlr ctl.,
p. 49, for a discussion of "currency."
     28"'We norv arrive at an epoch lvhen a nelv forrn of sccrrrity for
money, namely, goldsmiths' or bankcrs' notcs, carnc into gcncr:rl rrsc.
Holding them to bc part of the currency of the country, as cash, Lorrl
Nlansfield... had no difficulty in holding, in Nlillcr v. RAcc, that thc
property in such a note passcs, like that in cash, by delivcry." Gootlrvirr
v. Robarts, (1875) L. R. 10 Exch. 337, 350.
     zo"Bank of England notes form part of the ordinary currency o[
the kingdom, and therefore' stand on a pcculiar footing. Scc pcr
Lord Mansfield in Nlillcr v. Racc." Chalmers, Bills of Exch:rrrgc, gtlr
ed., p" 316. "They [bank notes] are promissory notes bu0 thcy nrc
also somcthing more. They are currency, cash or moncy rvithin Lortl
r\Iansfield's description." Oliphant. The Theory of ivloncy in thc Larv
of Commercial Instruments, (1920) 29 Yile L. J.606,618, n. 40.
    "Norv, a Bank of England note is not an ordinary corrrrrrercial
contract to pay money. It is in onc sense a promissory note in tcrrns,
but no one can describe it as simply a promissory note. It is a part
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legal substitute effecting an absolute discharge of an obligatiorr.oo
    The language of Lord Nlansfield should not be considcrcd,
holever, as proving that promissory notes are actttal substittttcs
for money"sl Further, rvhile Lord \Iansfield \\'as conrParing bank
notes, a form. of paper money, to metallic mone),, and stating
that these notes rvere the same "as monelr, as cash" ald possc*sscd
the "currency" of metallic money, rve often find promissor)' notes
compared to paper money.s=
    But rvas the banker's note, even if it rvas alr econontic substi*
tute for metallic money as a generally acceptable rt:ediurtr of
exchangg an absolute discharge of a legal obligation, as \yas
metailic money? The goldsmiths' notes in their inceptiort, rvltcn
accepted in payment rvere treated b)' the merchants as bcing
"cash," or the sarne as metallic money.63 By 17G1, I-ord Holt'l
held such notes rvhen accepted in pa1'ment to be nterely a condi-
tionai discharge, thus prevailing over the expectations of thc
of the currency of the country." Suffell v. Bank of England, (18S3)
9 Q.B. D. ssi 563.
     8oOrvenson v. lt{orse, (1796) 7 Durn. & East 61; Chitt-r', Bills 55.1'
infra note 84.
     srSmith, Leading Cases, 6th Am. ed., p. 742.
     sg"Probably the primary objcct of negotiabilit-r' is to gitc to bills
and notes the effect rvhich money, in the shape of govertrtrtcnt l-rills or
notes, plays in commercial transactions. . . Thus rvc sec bills atttl ltotes
going irom hand to hand in the commcrcial markcts, arrd crcdit taliirrg
ihe part of money in commercial transactions." Norton, Bills and
Notes, 3d ed-, p- 18.
     s:rrT'he notes of goldsmiths (rvhether they bc pa1'ablc to ordcr qr
bearer) are ahvays accounted among nrerchauts as rcad-'t' caslt, and rtot
as biils of exchange. He rvho dclivcrs ovcr tltc rtotc rtitl rtot bc
charged, if the goldsmith fail, as the drarver of a bill of cschattgc s'ottld
be; but the receiver is supposed to give'credit to tltc goldsntith, arrd
the note is iooked upon as ready moncy payablc imnrcdiatell'; and if
he does not like it, he ought to refusc it; but having acccptcd it, it is
at his peril. [But notc, if the party to rvhon: thc rtotc is dt'livcrcd
demands the money of the goldsmith in a reasottablc tinre, and lre u'ill
not pay it, it t'ill-charge lrim s'iro gave thc notc. .1" 'l'asscll artd
Lee v.-Lelvis, (1696) 1 Ld. Raym- 713,711" Accord: I Holdsrvortlr,
History of English Larv 169, 19i, n. l0; 2 Strcct, Fouudatiorrs of Lcgal
Liability 391.
     8a"But then I [Lord ]Iolt]am of opinion. and ahval's rvas (notrvitlr-
standing the noise and cry that is_tl:e.use of I-ombard Strcct. as if thc
contrary opinion rvould blou' up Lombard Strcct) tlrat tltc acccplatlcc
of such a igoldsmith] note is not actual payment." \\fard v' Evatts,
 ' G 2Thoroldl'"
(1704)     Ld. Raym. 928, 930.
                     Smith, (1706) 11 ltod.87,88, Lord lilolt also said:
"Any   jury  at Guildhalt s'ould find paymcnt b]' a bitl [a goldsnritlr's
note rvas ln issue] to be a good payrnent, it being the corlllllon practicc
of the city."
           -regard
     With          to the later history of payment in bankers' Dotcs st't'
trfoore v.'Warren, (172I) 1 Str..{15', Turner v. Itfead. (1721) I Str. {16;
Ilarvard and the-Iiank of England, (1723\ 1 Str. 550: llanrtaring v.
Harrison, G7n) 1 Str- 508; Fletcher v. Sandl's, (17'{6) ? Str. 1J18.
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rnerchants.Es In i833, the notes of the privately olvned Bank of
England became legal tender,8o but the notes of ot'her banlcs in
England never performed this statutory {unction.
    Thus it can be seen that the business rvorld of London had
developed in the goldsmiths' and bankers' notes an econonric
substitute for a freely circulable metallic medium. But Lord I-lolt
refused to invest them rvith the legal quality of metallic nloney,
namely, transferability bf title, and also denied to thern the
iegal function of effecting an absolute discharge of a debt. Lorcl
Nlansfield, however, as rve have seen, extended to thenr in recogni-
tion of business needs the marked legal characteristic of molley,-
immunity, from ciaims of prior orvnership,-and tltus pronroted
their use as a paper substitute for a metallic medium o[ excharrge
of gerrerai acceptability.s7

Tr.ra Enrrcr oF rrrE "SuBSTrTurD FoR NIoNEy" ANALocy oN Tr.rD
                   Law on ColrlrERctrrl P,rpnn
      It is submitted that the establishing of some reiation betrvcen
commercial paper and nroney has influenced the developmcnt of
the larv of bills and notes and the extension of the qualities of
negotiability to other types of instrrtments.
    It cannot be proved that a "substitttte for money" test for
the negotiability of commercial paper is definitely due to thc
historical inlluence of the notes of private bankers, But in the
seventeenth and eighteenth centuries, rvhen paper money was
first appearing in England, rvhen the credit system rvas not highly
developed, and when Mercantilism,s8 as the predominant economic
system placed great emphasis on moncy as a supcrior fornr of
rvealth, these notes of the private bankers rvere really more an
actual substitute for money tlran the pronrissory notes isstted in
ordinary credit transactions.
      siArnes, Cases on Bills and Notes 571, n. 2"
      8oSupra note 30"
    szKinyon, C. J., said in Solomons v. Bank of Englantl' (li9l) l3
East 135: "ft is very certain that both policy antl convetricncc rcqttirc
that bank notes should have the freest currency' irnd tto other irnpedi-
ment ought to be put in the rvay of it than such as mcrc jttstice
requires,"
    -
      "A.nd he ILord Hardrvicke in Walrnsley v. Child, (1749) 1 Vcs.
Sen.342] went upon the prirrciple that no dispute ought to be madc rvith
the beaier of a cash-note, rvho comes fairly by it; for thc snltc of
commerce, to which the discrediting of such notes nright be verl'
Cetrimental." Grant v. \iaughatt (1764) 3 Btrrr. 1516, 1525' Lnrvson
r'.'Weston, (1804) 4 Esp.56; Jones v. Nellis, (1866) 4l lll.4B?,484;
supra   notc 22.
   - ssHaney,    History of Economic Thought, ch. 7. Irrfla notc 117.
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    When the concept of negotiability rvas first being developcd
in the seventeenth century the type of promissory note most
often before the Engiish courts rvas these bankers' notes rvhich
rvere the forerunners of the Bank of England note, Iatcr the
characteristic paper money of England. Therefore from an
historical point of vierv there seelns to be considerablc justitica-
tion for the association of promises to pal' mone),, actual substi-
tutes for money, and the attributes of negotiability.6o Furthcr-
more, business usage had obviously decreed tlrat tlte bankcr's
promise to pay money, as an economic if not legal substitute for
metailic media, should be cast in the form of an unconditional
order or promise to pay a sum certain in metallic mone)' on
demand.Bo A somervhat similar form is to be found today in our
government notes, or "greenbacksr" our national bank notes and
several types of federal reserve notes.ol
    To digress, it might be said that the bill of excl:ange, rvhich
appeared peihaps earlier than the banker's note,03 s,ould have lcd
to the establishment of some relation as to physical fornr, the idea
of an economic substitute for money and the legal concept of
negotiabiliry. Even though the bill of exchange in its origin rvas
connected rvith banking,Bs at the time of the appearance of the
     8e"" . . under the larv mcrchant bills and notes rvcrc givcn tlrc
quality of uegotiability simply because they represcntcd moncy Imctallic
media] and answered a similar purgose in commcrce. . . Commercial
paper, shone as it were, by reflected light, and derived its negotiablc
quaiities from its similarity to money in rvhich it rvas payable." Brorvn
v. Perera, (App. Div. 1918) i76 N. Y. S. 215, 220.
     soFor a goldsmith's note see (1888) 2 Q. J. of Econ. 261, n. 8.
     "A paper rnoney consisting in bank notes, issued by pcoplc of
undoubted credit, payable upon demand rvithout any condition, and
ia fact always readily paid as soon as presented, is, in evcry rcspect,
equal in value to gold and silver money; since gold and silvcr money
cin at any time ae had for it." Sririttr, Weitttr of Nations, 329.
"There should be entire certainty and precision as to thc amount
to be paid. The reason for this is especially obvious; for if thc
note is to represent money effectually, there must be no clrnnce of
mistake as to lfie amount of money of rvhich it thus takcs thc
place and performs the offica . ." Smith v. Ifarland, (1882) 59 Iorva
645, 13 N. W. 852, 854. See also Uniform Negotiable lnstrumcnts
Law, sec. 1.
     elBye, Economics ?05.
     e23 Wooddesson, Lectures on Larv of England, 2d. cd., p. 50; I
Beawes, Lex Mercatoria, 6th ed., pp. 397, 413.
     es'We shall see that the earliest bills of exchange rvcrc instru-
ments devised to obviate the risks of the physical transport of money;
and that the earliest bankers rvere the mediaeval exchangcrs rvho dcalt
in money. trferchants rvho wished to transport money, in ordcr to
liquidate their foreign debts, handed over the neccssary sum to an
exchanger and he drerv a bill upon his correspondent or agcnt in tlrc
foreign country. . . and it rvas through the use madc by thcm of thcse
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goldsmiths' notes its nrain use was to accornltlish the sa[c llhysical
transfer of nletallic money from one place to another or to cffcct
such zr transfer in order to nrake a payrnent rvith nroncy. Its trse
ers a creclit instrrrment seerns to have conre later.0t Brrt it is
doubtful if either of the trvo earlier uses led the financial rvorlcl
or the courts in the seventeenth and eighteenth centuries to tnalcc
as close au identification betrveen bills oi exchange ancl rrrctallic
money as betrveen bank notes ancl nretallic rnoney,'c
bills that they devcloped into bankcrs to rvhotn thc ntcrchirnts cutrustcrl
money to be dealt rvith :tccording to their instrttctions. 'fhus thc
origins of bills of exchange and of banking are altrtost inscparably
connected. In fact, rve shall sce that it is to the comtncrciul ucetls
rvhich originated these bills of exchange that we rnust look for thc
explanation of the rise and grolvth of banks and banking." B l-loltls-
worth, History of English Larv 130.
     rr"English larv has been developcd picccmeal b-y judicial tlccisiorrs
founclecl on custom. 'I'lre result lras bccn to rvork ottt a thcrlr.y oI
bills rvidely different frorn the original. 'I'he Errglish thcor.y rrr:ry bc
called banking or currency theory, as opposcd to thc lircrrch or
mercarrtile theory. r\ bill of exchange in its origin lvas An ittstrtttttctrt
by u'hich a trade dcbt, due in onc pltce, rvas transfcrrcrl in:rrrothcr.
It rnerely avoided the trccessity of transmittirrg caslt frottt otrc placc
to anothcr. This theory the Frcnch larv steadily kcpt itt vicrv, Itr
Engizrud bills have developed into a pcrfcctl.v flcxiblc papcr ctlrrcrlc.v"
In F-rance a bill represents a trade transaction; in Englantl it is rrrercl.r'
an instrument of credit." Chalmcrs, Bills of Iixchatrgc, 9th ctl. p. I i i
This exccrpt appears in 2 Street, Fourrdatiotts of Lcgal Liability 395;
B Holdsrvorth, I-Iistory of English Larv 169 and sec pt). 145, 159; an<l
Anson, Larvs of Contract, 4th Anr. ccl., scc. 325. Scc also Schatrb atrtl
Isaccs, Problems in Business Larv 534.
     Cf. to this stat€ment of Chalmers, an exccrpt frorn Brissattrl, Iirctrclr
Private L;rrv, I-Iorvell's trans, p. 398, to this effcct; ". . " irt lirst it
(the bill of exchange) only secnred to avoitl thc trattsportatiott of
money; now it becomes a mcans of payment artd irtr instrtttrtcttt of
crc<lit, a sort of currctrcy betrveen merclrants. ." Sec also stll)r:t,
notc 58, to the effect that the use of the pltrascs "cttrrcttcy 1>riltcilrlc"
and "banking principle" as sytlonymous is incorrcct.
     sli"l-hc principle upon lvhich the public crctlit of Great llritain lrns
been enlarged and supportecl, has been the frec circttlatiotr of 1>irper
morle)'. Also in maintaining ancl encouraging thc accclrtattcc of
bank notes as equal in value to their amount in thc current coitr o[ tltc
nation; thereby making such paper money, as mucir tlrc rnctlittrn of ottr
exchangcs rvith eaclr other, ancl cvcn rvith sonre forcigrr cotttttrics, its
gold and silver. Private persons availing thentsclves of thc sanrc pritt-
iiplc have been enablcd to throlv into the commcrcial circttlatiott of
the Kingclorrr, thcir own notes, bills and other papcr sccttrities, ittttl ott
this basis a great number of banking hottses have of latc ycars bcett
established" . ." 1 Bearvcs, Lex Mercatoria, 6th cd., p. 397.
     For early vic'rvs of a retatiorr betrvccu bills of exchangc ittttl tttoltc.y
see:
     "Papcr money was ttsed in Clrina trvo thorrsand ycars ago; attd
the fittirrg name of flying ritoncl' was givcn tlterc to bills of cxclrattgc at
lcast a thousand years ago." Nlarshall, trIoncy, Crcdit antl Conttttcrce
295, n" 2. "An<l forasmuch, as bills of exchange arc accountccl itt thc
course of all pairnents in this colony, as rcatly money, it nray bc ren-
sonable for aclvancing the credit of such bills, to makc thc sanrc :i bcttcr
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                     TTIE PRONIJ.'.SOR}' AIOTE                        333

   \\ihen ne\\rer forms of commercial instrurnents,xo different
from the simple promissory notes of the bankers, appeared after
the eighteenth century it u'as argued that tlte;' should not be
invested tvith the attributes of negotiabilitl' since thel' did not
perform the same economic function as bankers' ttotes.
    In Woohey u. PoIeeT it rvas contended by the plaintiff that
the holder of an oichequer billc8 n'as not intlnulre fronr clairrrs of
orvnership as such a bill "constitutes no part of the currcttcl' o[
the countrl;" in Gorgier u. l'Iicaillc,"o t case itrvolvirrg sinrilar
immunity for a holder of a foreign govenlrltent bond, it ivas also
contended that such instruments rvere not part of the "circulating
rnediunr of the country." In Lang a. Suryth,roo a casc irn'olvirrg
similar immunity of a holder of coupons, the question in issttc tt'as
rvhether these instruments "pass fronr hartd to hand likc barrk
notes or n1oney""
    The follot'ing excerpts fronr decided cases shorv a judicial
tendency to associate a simple physical fornr, tlte ccononric frructiurr
 of a medium of exchange of general acceptabilitl' and thc legal
concept of negotiability :
    "Furthermore, as notes and bill-s are designcd to circrrlate
freely, and to take the place of money in contnrercial trattsactiotts,
sound policy rvould seem to dictate that thel' should be irt fonrt
as coniise as possible, and that the obligations assttnred ll1' thc
rnaker or makers should be expressed in plain and sinrple lan-
guage."lol
Again, it has been said:
    ". . " the simple, short instrunrents of earll' cttstont ltave grorvn
into elaborate documents full of collateral undcrtakings of evcr;'
nature that the developruent of moderu business artd systcrtts of
credits could suggest" . .
    "Some [American courts] " . nranifest a decidcd inclirration
to return to the simple form of r:egotiable bill ancl note tltat so
closely resembled the banl< bi ll and other forn:s oI cttrrcrtc)', atld
securlt-v than they have been heretofore. -." (1730) -3 & { Gco- II, ch.
5. sec.-4, Larvs of Virginia, in 4 Hcning' Stat. at Largc 27{- I:or a
iomparison of bank notes and bills of cxchatrge sec Gidc, Pulitical
Economy, Trans. from 3d ed., P. 422.
     scFor these nerver types see Aigler, Recogrrition of Ncrv 'l'1'pes crf
Ncgotiable Instruments, (iqZ+) 24 Col. L" Rev- 563; Chalrrrcrs, llills
of Exchange, 9th ed., p. 371 et seq.
     or1l820) 4 B. & A. 1,4; I{acleod, Banking, Sth qd., p.297.
     sgFor the form of tfiis bill see Philippoviclr, Histor-\' of thc Bnnk
of Eneland 285:. 2 Halsbury. Lau's of England 565'
     ss(f924) 3 B. & C- 45, 46.
     roo1l831) 7 Bing. 284,288.
     rorilngsln Nat{ Bk. r'. Perr}', (C.C.A. Sth Cir- 1895) 06 Fcd. 8S7,
894, 74 C. C. A- 273,280.
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t<l supplement rvhich, as agencies of commerce, thcy rvere itr-
vented."lo2
In another decision it was stated:
      "The note can very lvell represent rnoney effectually, and there
is no chance of mistal<e as to the amount of money of rvhich it
talces the place and performs the function, and this perfccts its
negotiability."roe
    In Third, National, Banh of Bu.ffalo v. Sprhrg,ron a cflse irrvolving
a chattel note, the court said:
    ". . the wisdom of maintaining the larv merchant in its
integritS all indicate the necessity for such constrrlctions of tlrat
Iarv by the courts as will, so far as possible, prevetrt confttsing
innovations, and keep the lalv, 'ry'hat it has been for ages, thc
basis of an inestimable circulatory credit, like the currency of
the country."
   The relation betrveen negotiable commercial paper, and uroncy
has been stated thus, in a rvell l<norvn text on the larv of bills and
notes:
    "Bills and notes have become, under the clevelopnrent rvhich
they have unclergone in the courts of England and Amcrica, a
sort of money,-a medium of exchange possessing the advantagcs
of a perfectly flexible paper currency."106
Another text has said:
    "Commercial paper rnay be defined to inclucle all thosc irrstru-
ments of indebtedness, which are treated and usecl, in the conr-
merce of the lvorld, as the equivalents or representatives of money,
or lvhich are given the characteristic of nroney, in the furtherancc
of commercial ends. Negotiable paper or instruments are synony-
mous terrns.t'1oo
    This excerpt, taketr frotn au outstanding investigationt0? itt
the law of bills and notes, summarizes the attitude of many courts
on physical form, negotiability and substitutes for money:
    "Consequently, lve must ahvays interpret the formal requisitcs
with our eyes upon the actual conduct of life, continually tcsting
them by the ultimate purpose of negotiable instrttments, frce
circulation as a substitute for money."
    This principle that the economic quality of a mediunt of
exchange of general acceptability and the physical forrn of it
    roecommerciai Nat'l Bk. v. Brcrving Co., (1900) 16 App. D. C. 186,
202. Cayusa County Nat'l Bk. v. Purdy, (1885) 56 lvlich 6, 7.
    losschl-esinser v. Arline, (W.D.Ga. 1BB7) 31 Fcd. 648, 651.
    to+11899) 28 Misc" Rep. 9. 59 N. Y. S.794. 797, rcv. (App. Div.
1900) 63 N. Y. S.4i0. See Aigler, Conditions in Bills and Notcs, (1928)
26 Mich. L. Rev. 477, on chattel notes.
    105]rfs1fen, Bills and Notes, 3d ed., p, 17.
    looTiedeman, Commercial Paper 1.
    rorQhafsg, Acceleration Provisions in Timc Papcr, (1919) 32 Flarv.
L. Rev- 747,752.
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                      THE PRONI1.'SORI' NOTE                            33 J

 "courier rviihout luggage" are necessary characteristics of all
instruments to be invested rvitlr the legal attributes oI ncgotiability
continued even after the enactment o[ the Uniform Negotiable
Instruments I-arv, despite the fact that the uniform act nos'here
states that a negotiable instrument is a medium of exchange
circulating in an unrestricted manner as does money. In a reccnt
case in rvirich a bearer corporatd bond s'as involvecl, the suprcnrc
court of l\{innesota said:ro8
    "Negotiable paper enters the channels of conrmercc. It is
a medium of exchange in the business rvorld. To circulatc frcell'
it must be a 'courier rvithout luggage.'loe Here, there rvas 'luggage,'
a trust deed of 89 typervritten pages incorporated in the bonds-"
    This determination of negotiability by a comparison of thc
physical form of the instrument in question to a desirablc form
for a medium of exchange of general acceptability, as ex1>rc-ssed
in a rvell-knorvn figure of speech, instead of by an anal;'sis of
the sections on form of the uniform act, is shos'n by this
quotation:
    "A negotiable instrument has been termed a 'courier rvithout
luggage,' rvhose countenance is its passport. This apt metaphor
does not fit these trade acceptances, for the reason that thel' arc
laden rvith the equipment of a rvayfarer rvho does not travel under
safe conduct."uo
   Another court has recentiy held that an acceleration clause in
a note, conferring on the holder the option to mature the note
rvhen he deemed himself insecure, prevented the instrument from
being negotiable. With oniy a brief statement that the unifornr
act did not cover the point and rvith no analysis of the various
sections on form contained in the act, this court said:
     losKing Cattle Co. v. Joseph, (1924) 158 \{inn. 481, 198 N. \\r. 798,
799,799 N. W. 437.
     10s('Ss1 a negotiable bill or note is a courier rvithout luggagc. It is
a requisite that it be framed in the fe'u'est rvords possiblc, and those
importing the most certain and precise contract; and though this
requisite be a minor one, it is entitled to rveiglrt in dctermining a
question of intention." Gibson, C. J., in Overton v. Tylcr, (1816)
3 Pa. SL 346, 347,45 Am. Dec.645, 6d6. Sce also \\roods r'. North,
(1877) 84 Pa" St 407, 409.
     "A bill of exchange and promissory notcs. . . are contracts formcd
in the fervest possible lvords to effect thc objects of commcrce." Chitty,
A Treatise on Bills of Exchange, Chccks on Bankcrs, Promissory Notcs,
Batrkers' Cash Notes, and Bank Notes 147.
     110l.ane Co. v. Crum, (Tex Comm. App. 1927) 291 S. \V. 108{.
See Case Notes, (1928) 37 Yale L. J. 382; (1929) 38 Yale L. .I. 25, 33,
n.27; (1927) 6 Texas I-. Rev.95; Harris v. \Vucnschc, (Tcx. Cir'. App.
1928) 7 S- W. (2d) 595; Amer. Exch. Nat'l Bk. r'. Stcclc, (Tex. Cir'.
App. i928) 10 S. W. (2d) 1038; (1929) 61 A. L. R. 811.
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      "It is clear that the maker's obligation is not then au absolutc
aud unconditiorral one for the paynrent of a clcfinite srrnt of
moncy at all events and rvithout any contingeucy. By the larv
rnerchant, negotiable paper for all practical purposes, passes by
delivery as money, and is the representative of money.             t\tt
obligation of this character is too nncertain to serve thc irurposc
of conrmercial paper. By the rveight of authority it is helcl that
a condition of thrs sort introduces an element of ttncertainty as
to the time of payment and the amount to be paid. 'I'hc tnal<cr
cannot at any time tell from the face of the instrument ltorv tttuclt
he rvill be compelled to pay, or at ivhat tinre his liability beconrcs
absolute."ttl

            Trrn Iicor.routc FuNCTToN or. PRo'rrssony No'l'DS
     Grarrting that the "snbstitute for money" analogy has clefinitely
influencecl the larv of bills and notes,rl2 it is to be qucstioncd
rvhether such an analogy is of practical valtte today in detcnrrining
the negotiability of a note, The requisites of certainty as to titrtc
and amount of payment and of freeclom from conclitions,rtu
perhaps developed from a comparison to nrolley, partictrlarly
paper money, have been set forth in the first sections of thc
Urriform r\egotiable Instruments l-arv. While tltese rcquisitcs
of form rvere and perhaps still are very desirable,rl{ it secnrs that
a judicial interpretation of the sectiorrs on fornral requisitcs in thc
     llllvlurrell v. Exchangc Bank, (1925) 168 Arl<.645,653,271 S. \V.
21, 24, 44 A. L. R. 1391, 1396. Cf. the rcfnsal of thc Arkansirs court to
corrsider a promissory note as money in llauk of Cornmercc v. Goolsby,
 (1917) 129 Ark.416,432, i96 S. !V.803, B0B, rvhuein it rvas saitl:
"When notes arc taken in exclrange for stocl< it is a palpablc violatiotr
of the coustitutional provision, bccause notcs arc nrerely cvirlctrcc of
indebtedness, and such a transaction shorvs upon its facc that tlrc sl,ocli
has not bccn paid for. . . Notes are not moncy ancl not banl<irblc pill)cr,
but mere choscs in action. -." See also, (1929) 7'J'cxas L, R.215.
     1r2"In thc present instance, the la',v of ncgotiablc traper is rvhnt it
should be, in the degree in rvhich it causes or pcrrnits negotiablc pnper
to becomc that exact representative of nroney, rvhiclr such pirpcr rvirs
invented and used for." 1 Parsons, Notes ancl Bills 8.
    113"fis1ps6bering tirat at lcast the carly use of ncgotiablc irrstru-
ments was very largely as a substitutc for moncy irr mal<irrg payttterrts
and exchanges of credit generally, it is rrot surprising that it shoukl
have been deemed a prime requircment of such documcuts that thcy
should be unconditional irr thcir orders and prorniscs." Aiglcr, Corrdi-
tions in Bills and Notes, (1928) 26 lvlich. L. Rcv.47l. Sce also Chirfcc,
Acccleration Provisiotts in Time Paper, (1919) 32 l{arv. L, Itcv. 747,750.
    ll{"The necessity of certainty and prccision irr mercantile affirirs,
and the inconveniences rvhich rvould rcsult if papcr securities rvcrc
incumbered rvith conclitions ancl contingcncics havc lc<l to the cstab-
lishment of an inflexible rule that a promise, to be rtegotiab[c, rrtust
be absolule." Amer. Exch. Bk. v. Blancharcl, (1863) 7 Allcn (lvftss.)
333, 335.
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                       THE PRO.ITI-'.'ORI' AIOTE                            337

iight of the economic fur_rction of pron:issorl' ttotes rrould ttrcet
modern business needs more satisfactorily than a rcliance ort tlte
"substitute for money" analogl'"trs
    As a distinct type of legal instrumentlro the 1>rotttissor)' Ilotc
first appeared as a banke/s note in an econon:ic age prior to thc
development of the modern credit S)'stenlrrt tyhen tltere ryas a
greater need for ruoney than non'. But todal' the pronrissorl'
note is merely one of many legal devices"s utilized in credit tratls-
actions. It appears in consumption credit"o in installnrent pa)'-
mentleo for such articles as radios, furniture and autonrobile-s; in
commercial banking it is used for the crcation o[ "deposit ctrr-
rency," and on rediscount it sen'es as secttrity for thc issuc of
federal reser\re notes, the flexible assct currellc)' of our presettt
monetary system.ler This note thus functions as sltort tcrm
finance or credit paperttt just as the corporate bond operatcs as
     115"Such a principle (negotiability) is of scriicc ortl-v so far as
it expresses rvhaf commercial and financial mcn are doing and tlrinkilrg.
 It ii equally obvious that rvhenever such mctr dcvclop a llc\\' type of
 instrument io meet a new need. . . then tlre timc ltas conre to rccognizc
 a new institution to rvhich the principle of ncgotiabilitl' applics."
 Llervellyn, Relation of Current Economic and Social Problcnts to tltc
 Restatement of the Lau', (1923) 10 Proccedings, Academy of Political
'Science 331, 334.
       "Since the uniform larv is essentially a recognition of conrntercial
 usages t'hich' have been accepted through tlrc lau' ntcrcltant, it lras
 beei thought fitting: to construe its provisions, rvhercvcr opcn to itttcr-
pretation, ln accordance rvith mercantilc requircmcnts and practiccs."
 Notes, (1928) 42 Harv. L. Rev. 115, 116.
       uosupra note 62.
       ruHiney, History of Economic Thought 92, in spcaking of trIcr-
 cantilism, said: "Industrial stocks and bonds u'cre virtualll' unknou'tt
 (in the ieventeenth century) and -moncy took their p-lacc. So, too,
 with various credit agencied. Todal' they abound and makc an ittt'
 portant part of our medium for exchange as rvell-as fornr a nteatts of
 investment. In a rvord. the relative importancc of tlrc prccious rtrctals
 rrras normally greater then than tot '."
       For an int&esting judicial observation, fronr tltc ttrcrcatttilist vicrv-
point, see Buller v. erips,, (1604) 6 IIod'-29, rvhcrc T.ord I-IDlt said:
;'Atrd these notes are not in the nature of bills of eschangc; artd
 liliervise it [a bill of exchangc] hinders tlte expo_rtatiol of nroncy out
 of the realri." See text to footnote 69 for a furtltcr discussion of tlris
case.
    1182 Spencer, Larv and Business 287-574; Schaub- and Isaacs, L-arv in
Business Problcms, ch. 10; (1923) 32 Yale L. J. 518.
    ueFor an analysis of the various types of credit tr-ansactiotts, sec
Seligman, Economrcs. 6th ed., PD. f6-501; Standard Barrking, r\nrerican
Institute of Banking 50; trfoulton, Banking 16.
     leoseligman, Economics of Instalment S_clling. For tltc ittrporlancc
of book .t"ait see Rodkey, The Banking Proccss' 157-
     l2l\Villis, Federal Reierve System; trfoulton, Irinancial Organiza-
      577; Laughlin, Banking Reform.
  - t=z1ig231Zg
tion
                   Cot. L. Rerl. 143, n. '1; Oliphant, Columbia Univcrsit5'
Studies'ln Legal Education, ch. 1.{. For somc intercsting folms of
short term troles see Gerstenberg, I{aterials of Corporatiorr Financc,
5th ed., p. 297.
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long term credit paper in investnrent banking.l2B
     fn an economic society characterized by credit rvhich dispcnscs
with the use of money in the exchange of economic goocls, it
 seems that the courts should pay less attention to the creation
of actual econornic and legal substitutes for money and nrorc to
the security of the credit transaction.lza The most desirable char-
acteristic of any credit contract, from the point of vietv o[ the
 vendor or his transferee, is security,126 and rvhen there is acltlcd
ready convertibility into money, a valuable credit device is avail-
able. The negotiable promissory note, containing secttrity provi-
 sions, seems to be a most excellent legal device for safegtrarding
 the credit risl< and satisfying the need for convertibility. Sttch att
 instrument seenrs to be economically advantageotls to society in
 facilitating the extension of creditt'0 ancl it appears that these
 security provisions, rvhen possible to do so,12? shottld be hcld as
 not affecting the negotiability of a note. It seems that the secttrity
 provisionslzs of a promissory note should be lool<ecl upolt a$
 desirable "luggage," and as tending to make sttch an iustrttment
  function more satisfactorily in the extension of crcclit ancl thc
 security of transactions.lzo
      While the courts can no longer rely on the flexibilitl' of the
  common larvl3o in determining the negotiability of notes, in vierv
      128Moulton, Bankin g 402i Moulton, Iiinancial Org:rn ization, ch. l4
      124 Jsaa CS, Business Postulates and The Law
                                                     , (1928) 41 FInrv. L.
  Rev. 1014, 7021-1025. See also Mc o uire, 'fhe Shi ft from Clreap Nloncy
  to Cheap Credit, (1923) 16 Amer B ankers Ass'n J. 300.
      l25Magill, Legal Adva ntages and Disadvan tagcs of thc Vnrious
  Methods of Selling Goods on Credit, (1923 )B C orncll L, Q., 210, 226.
     l2CIsaac s, Econ omic Advantagcs and D isad vantagcs of tlrc V:rrious
Methods of Sclling Goods on Credit, (1923) B Cornell L. Q. 199, 208.
     1?7"Q1snfs1 circulation of commercial paper tends to lolver irttcrcst
rates and stability of circulation makes for efhc iency itt hantllirrg busi-
ness affairs. If nego tiability is a socially dcsirablc end, au ittstrutttctrt
should be held negot iable rvhere tlvo interpretations nre etlttall.v pos-
sible." Case Notes, (le24) 34 Yale L. J. 98, 99
     128For a discus sion of the effect of secttr itv pr ovlslotl.s, iscc: oll
chattel notes, Notes and Commen ts, (1929) 14 Corn cll L. Q.203; r\iglcr,
Conditions in Bills and Notes, ( 1928) 26 Mich. L. Rcv. 471. 477; rtt
acceleration provision if the hol dcr dcems himsclf insccttrc. First
Nat'l Bk. v Blackman, ( 1928) 249 N. Y.322, 164 N. E. ll3; Cltirfec,
Acceleration Provisions in Timc Paper, ( 1919) 3? Flarv. L. Rev. 747,
773; Note and Comment, (19?'4) 22 Mich. L.R cv . 710; a provisiott for
the pay ment of taxes, assessmcnt or insuraltce, llubbard v. Wallace,
 (1926) 210 Iowa 1143, 208 N. W. 730, 45 A. L. R. 1065. Sec nlso
Turner, A Factual Analysis of Cert ain Proposed Amcntlrncttts of thc
Negotiable fnstrum ents Law, (1929) 38 Yale L. J. 1047, 1058.
      120'1p11 frOm b eing too much luggagc, strch a promisc Ito pny
insurance.J is desirable lu ggage since it tends to facilitatc c ollcction
and create additional confi dcnce 1n the instrument." Casc Notcs , ( le29)
 27 Mich, L. Rev.462. Accord; Farmer v. First Nat'l Bl<.' (l 909) 89
 Ark" 732,135, 115 S. W. 1141, 1142,731 Am. St. Rcp.79, Bl.
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of the uniform act,131 it need not in interpreting these sections
rely on the idea that a note cannot be negotiable unless it has ttrat
mathenratical certainty characteristic of a banker's note, devised
as a substitute for metallic monel'.133 \\Ihat \\'as conlntcrcial
certainty rvith regard to the economic function of a bank noto
serving as a substitute for a metallic medium of e-xcltange is not
the same certainty for promissory notes serving as short ternt
credit paper.
   The effect of determining the negotiabilitl' of a note b1' the
economic need of the seventeenth and eighteenth centurics for an
actual economic and legal substitute for nroney, possessing rtratlte-
matical certaint5r as to time and amount of payment, is rvell sct
forth in the folios'ing e-xcerpt:
     "And observe the situation of credit-paper today. Tlte lauycrs
have a fetish, . - . that the negotiable instrument ltas the function
of serving as a substitute for cash. The paper is therefore not to
be encumbered by anything beyond a pron:ise or order to pa)'
money. But it is clear ,that bonds, notes and acceptances sen'e
before maturity not as substitutes for cash, but as transfcrable
evidences of indebtedness. And it is clear that they are bctter
evidences of indebtedness, and more transferable, and better serve
their function, if they carry evidence on their face not only of
an obligation, but of the soundness of that obligation-of good
security. . . . The larv in stalrvart conservatisnr insists on nlea*\ur-
ing and judging paper rvhose function is to evidence loans to be
paid only in ttre luiure, by the strictest standard of paper_rvhose
ivholly different function is to substitute for cash in effccting
payments    right norv."tss
- " The "sufstitute   for money" test rnay be soutrd for instrttttrcnts
such as checks and other bills of e-xchangel3{ used for effecting a
    l3otrferceJ' County v. Hackett, ( i863 ) I \Vall. (U.S.) 83, 95, 17 L
Ed. 548, 550.
    rer1i2n62112n Co" v- trforgan, (1926) 242 N. Y. 38, I50 N. E.
594,  599.
-- -'rszi,The
                 rule requiring certainty in commercial paper \vas a rulc of
commerce       before  id rvas-a rule of las'. It rcquircs comnrcrcial, ttot
miifr"*"tiol certainty." Cudahy Packing Co. v. Statc Nat'l Bank,
(C.C.A. 8th Cir. 1904) 134 Fed. 538, 542-
 '- lalt must not be forgotten, hoyeycr, tSat tltcse rulcs of ccrtaintl'
are not mathematical formulae evolved out of thc purc rcason of tlrC
i"a"ui- but ire business requirements crcatcd by business necds and
i"iI"piiUtu of modification rvith changing commercial conditiorts. Lary
is made for business, not business for la1'." ChafCe, Accclcration
               in Time Paper, (1919) 32 Harr'. L. Rev- 751-
- - iail1"{u"llr.,
Provisions
                       R"latio"" of Current Economic and Social Problems
to  the  Restatement    of the Larv, (1923) 10 Proceedirtgs, Acadcnry of Pol,
Sci. pp. 28-29"
      isi"- " . bills of exchange may be dran'n to ntake inrmcdiatc trans-
ference of bank funds from-one person to anotltcr or to \vithdrart' stlcft
funds, as in the use of a check; fo facilitate the purchase of somc com-
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340                  ]tlNNESOT'zl LAI,Y REVIEI,I/

transfer of nroney for paymenttst in coutrast to crcclit irrstru-
tnents.l30 In vierv of the fact that the unifortn act incltrtlestuT
such varied instruments as checks, short terur crerlit paper itntl
long term investrnent securities,tss it is to be doubtecl if thc courts
.should ignore the econotnic functiotrs of these cliversc instrtttnertts.
    As a recognition of the clivergerrt econonric functions of thc
instruments included rvithirr the urriform act certaitr stittcsrl'0 huvc
aiready anrendecl the uniform act so as to meet sonre o[ thc
objections of Iorcing all instruments for the paymcnt of nroncy.
rvhose negotiability is in issue, into a form clesirable 1>crhaps for
devices for effecting a transfer of ntoney to be ttsc<l irr paytucttt.
In addition, the Special Cornrnittee on .f\nrendmcnts of Uniforrrr
Acts has proposed this amendment to scction five of thc Ncgo-
tiable Instruments Act :
    "[An instrument is not negotiable rvhich contains an ortler or
promise to do any act, in adclition to the payment of trtottey,f
unless such additional act is apparen tly intendcd to renrler nlorc
modity either by a b:rnk acccptancc rvhcn thc bank is :rcccptor or by it
trade acceptance rvhen the debtor is acceptor;            or to provitlc it
means rvhereby a creditor can bring prcssurc upon a slorv tlcbtor tt>
discharge his obligations." Dclvcy and Shttgrtte, I3anl<ing arrd Crcdit .lB.
     rar';11 hur beerr estimated tlrat lrom 90oh to 95% of all payrrtctrts
rnade in the United States are madc by chcck ratltcr thatr in actllitl
money." Standard Banking, American Instittttc of lSarrlcing I28. Scc
also Kinlcy, l'he Usc of Crcdit Instrttmcnts in Paylttctrts iu tlre
United States 201, printerl as Vol. 6, National rVottetary Cornm" lleport
 (1911), using 80/o to 85% as the estimate. Scc also Lcottg, 'l'hc
Volunre of Deposit Currency in the Unitcd States, (l9Zg) 37 J. of Pol.
Econ. 583.
     13ti'1.I-|1g cheque is not, strictly speaking, an ittstrttmcnt of cretlit;
it is an instrument of payment." Gidc, Political Ecotlont.v, 'l'rittts.
from 3d ed., p" 325"
    "It is theie demand instrttmcnts, particttlarly bank ttotcs, citslticrs'
checks, bank drafts, and personal chccks tlrarvn against blnli tlcl>osit
accounts, that serve extensively as mcdia of cxchangc' Whilc tllcsc
{emand notcs and bills have comrnonly bcen called cre<lit ittstrtttttctrts,
they are strictly not credit instrttmcnts, at all, for thcy .arc not evi-
dences of postponcd payment, tlte essential charactcristics of crctlit
operations. ChcckJ, bank clrafts, atrcl bank trotcs arc creclit ittstrtt-
ments only in the sensc that greenbaclcs and tokcl coins itre crctlit
currency." Moulton, FinanciaI Organization 164, 168.
     13rFor the purposes of this discussion it is asstttnctl that tlre
Uniform Negotiible Instrumcnts Larv applics orrly to instruntcrrts [or
the paymeni' of moncy. Cf" lvlanhattan Co' v. NIorgan, (192$ ?42
N. Y" 38, 150 N. E. 594.
     r38For the effect of thc failure to coufittc thc unifonn act to bills
ancl notes, as was {one in thc English Bills of Excltangc Act of 1882,
see 'I'he Applicability of the Negbtiablc Instiuments Larv to Bou<ts,
(lgZS) 23 C61" L. Rev" 7l; Brannan, Nggotiable Instrurncnts Lirrv. 4tlr
iO., pi,. 7-8; Notes (1925) 39 Flarv. L' Rev. 875 ; Case Notes, ( 1929) 38
Yale L. J. 825"
- rooilinras,   Stat" 1917, ch. 244, sec. I : lVisc' Stat. 1921, scc. 1675-4;
Neb. Comp. Stat. '1.922, sec. 5952; Calif. Stat. 1923, ch. 98; Nlasort's
1927 NIinn. Stat., sec. 7048-1.
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secure and certain the payment of the suru of mone), to s'lriclr tlre
order or promise relates."l'to
    In support of this amendmerrt the conlrrittee has said:
    "The amendment of section 5 is intended to 1:reservc the ncgo-
tiability of elaborate forms of rrotes and corporate borrds rvhich
frequently contain additional promises. If their object is siruply
to render more secure and certain the payment of the prirrcillal
sum, there seems rro reason rvhy such instrurnents shotrld nrrt bc
negotiable."lal
    It is possible that the someryhat indetinite tcst laid dorvn in
the proposed amendment may be looked upon as nrore undesirablc
from the vierv*point of the business s'orld than the present situa-
tion.1a2 But it does seem to be an opportunitl' 5r' rvhich thc
courts may, if they see fit, avoid the tyranrryttt of the "substitrrtc
for money" and "courier u'ithout luggage" cotrcel)ts. Such an
amendment though it may introduce uncertainly as to rvtrat notqs
are negotiable, rvill perhaps overcome the desire for a pronrissory
note, cast in the fervest possible rvords and nrathenraticalll' ccrtairr
as to time and amount of payment. The proposed amendnrent nray
perhaps set a vague standard of form for testing the rregotiability
of notes in comparison to the present apparerrtl)' definite one of
the uniforn: act,loo but, as N'Ir. _Justice Holmes has saicl:
    ". . . the logical method and forur flattcr that longing for
certaint5l and for repose rvhich is in ever)' huntan n:ind. But
certainty generally is illusion. and repose is not the dcstin-v of
man-1a5
      l4oHandbook, National Conference of Commissioncrs on Urrifornt
State Laq's, (1928) p. 181- That portiorr of the quotatiorr in brackcts is
part of the present uniform act.
      141lbid., p. 190.
      r+z(1928) 22I1l. L. Rev.815,818. Cf. (1929) 21 lll. L. Rer'. 150, 155.
      1{3caldozo, The Paradoxes of Legal Sciencc 61.
      t'It is now recognized that most rulcs of larv rcprcsctlt a rouglt
compromise betrveen those economic and social necds of thc prescnt
rvhich are able to make themselves felt, and tltc forntulas and doctriltcs
of the past- " . Yet it is truc that doctrines oncc forrnulatcd ltavc a
potency rvhich often long outlives thcir social justification. To tlrc
jurist rvho rvrote the formula the s'ords in rvhich it rvas clotlrcd ntay
have borne an entirely different significance from tltat in rvlrich tlrcS'
are now understood." Ilenderson, Forcign Corporations in Anterican
Constitutional l-arv 7-8.
      144r(A business man must be able to tell at a glance rvlretlrer hc is
taking commercial paper or not. There must be no trviligltt zonc
betrveen negotiable instruments and simplc contracts." Chafcc, .{c."-cl-
eration Provisions in Time Paper, (1919) 32 Harv. L. Rcv. 717,754.
 Cf., horvever, Francis, Do Some of the trfajor Postulatcs of the Las' of
Bills and Notes Need Re-Examination, (1928) l-l Corncll L. Q. 'll,
42;' supra note 37-
      r+51161mss, The Path of the Las', (1897) 10 Harr'. L. Rcv. {57, {6.6.
